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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK


      FELIPE RODRIGUEZ,

                                                       Plaintiff,

                                             -against-

      THE CITY OF NEW YORK, METROPOLITAN
                                                                                                                 21-cv-1649
      TRANSPORTATION AUTHORITY, LONG ISLAND
      RAIL ROAD COMPANY, JOHN BEISEL, in his
      individual and official capacities; THOMAS SULLIVAN,
      in his individual and official capacities; CHARLES
      WENDEL, in his individual and official capacities; JERRY
                                                                                                            AMENDED
      FENNEL, in his individual and official capacities; JOHN
                                                                                                         COMPLAINT AND
      CALIFANO, in his individual and official capacities;
                                                                                                          JURY DEMAND
      JOHN WILDE, in his individual and official capacities;
      GEORGE ZAROOGIAN, in his individual and official
      capacities; and OTHER AS-YET-UNKNOWN POLICE
      OFFICERS & SUPERVISORS JOHN and JANE DOES #
      1–10

                                                       Defendants.




                Plaintiff FELIPE RODRIGUEZ, by his attorneys, Zachary Margulis-

     Ohnuma, Joel B. Rudin, and Benjamin Notterman, complaining of the

     defendants, respectfully alleges as follows based on information and belief:

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                                            PRELIMINARY STATEMENT

                1.          This is an action for compensatory damages, punitive damages

     and attorney’s fees pursuant to 42 U.S.C. §§ 1983 and 1988 for violations of the

     civil rights, as secured by said statutes, the common law, and the Constitutions

     of the State of New York and the United States, of Felipe Rodriguez (“Felipe”)




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     who was wrongfully convicted of the 1987 homicide of Maureen Fernandez in

     Queens, New York.

           2.     After spending nearly 27 years in prison for a murder he did not

     commit, Felipe was granted executive clemency by New York Governor

     Andrew Cuomo and released in January of 2017. After Felipe’s release, the

     Queens District Attorney’s Office re-investigated the case and, in December

     2019, joined Felipe’s motion to the vacate the conviction. The Queens County

     Supreme Court granted the motion on the basis of (1) newly discovered

     evidence of innocence, including a recantation by the prosecution’s main

     witness, Javier Ramos, who revealed that his false statements implicating Felipe

     were coerced by detectives, and (2) Brady violations and other police

     misconduct that, according to the District Attorney’s Office, “impeached the

     entire investigation.” People v. Felipe Rodriguez, Ind. 1568/89, 12/30/2019

     Hearing Tr. at 19:15.

           3.     Detectives engaged in a litany of misconduct that violated

     Felipe’s Fourth Amendment, due process and fair trial rights, directly causing

     his wrongful conviction and incarceration. Eager to “close” a homicide

     investigation that was entering its second year, detectives from the New York

     City Police Department (“NYPD”) and Long Island Rail Road Police

     Department (“LIRR PD”) fabricated police reports, withheld exculpatory



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     information from prosecutors and the defense, and coerced Mr. Ramos into

     implicating Felipe. In the course of the investigation, detectives drove Ramos to

     a cemetery and threatened to kill him if he did not implicate Felipe in the

     murder. Assistant district attorneys withheld crucial exculpatory information

     from the defense, including a tape recording in which Mr. Ramos—unaware

     that he was being recorded—admitted to a co-worker that he knew nothing

     about the murder.

           4.      The police and prosecutors engaged in the misconduct pursuant to

     policies of deliberate indifference by final policymakers, for which the City of

     New York, the Long Island Rail Road Company, and the Metropolitan

     Transportation Association, the suable entity that took over the LIRR Police,

     are liable. Felipe suffered unimaginable damages during the course of

     prosecution, conviction and imprisonment, and deserves substantial

     compensation for the suffering he endured and continues to endure as a direct

     result of the violations of his constitutional rights.



                                      JURISDICTION

           5.      Felipe Rodriguez brings this action for compensatory and punitive

     damages, affirmative and equitable relief, an award of costs and attorney’s fees,

     and such other and further relief as this Court deems equitable and just.



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           6.      This action is brought pursuant to 42 U.S.C. § 1983 et seq. to

     redress the deprivation under the color of law of Felipe Rodriguez’s rights as

     secured by the United States Constitution, and pursuant to 42 U.S.C. § 1981 to

     redress the deprivation of Felipe Rodriguez’s right to the full and equal benefit

     of all laws and proceedings for the security of persons and property as is

     enjoyed by white citizens.

           7.      This Court has federal question jurisdiction pursuant to 28 U.S.C.

     §§ 1331 and 1343.

           8.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. §

     1367(a) over Mr. Rodriguez’s claims brought under the laws of the State of

     New York.

           9.      Mr. Rodriguez has complied with the requirements of New York

     General Municipal Law Section 50-I by making and serving a notice of claim

     on the Comptroller of the City of New York on March 27, 2020.

           10.     The notice was served within the time required by the New York

     General Municipal Law Section 50-e.

           11.     More than thirty days have elapsed since the service of that notice

     and no offer of settlement has been made.




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             12.   At the request of the City of New York, Mr. Rodriguez submitted

     to a hearing pursuant to New York Municipal Law Section 50-h on November

     19, 2020.

             13.   Mr. Rodriguez has complied with the requirements of New York

     General Municipal Law Section 50-I by making and serving a notice of claim

     on the Metropolitan Transportation Authority Legal Department on March 27,

     2020.

             14.   The notice was served within the time required by the New York

     General Municipal Law Section 50-e.

             15.   More than thirty days have elapsed since the service of that notice

     and no offer of settlement has been made.



                                            VENUE

             16.   Venue is properly laid in the Eastern District of New York under

     28 U.S.C. § 1391(b), because this is the district in which the claim arose and

     Plaintiff currently resides in this district and resided in this district in 1990.



                                      JURY DEMAND

             17.   Plaintiff respectfully demands a trial by jury on all issues and

     claims set forth in this Complaint pursuant to the Seventh Amendment of the

     United States Constitution and Fed. R. Civ. P. 38(b).


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                                         PARTIES

           18.     Plaintiff FELIPE RODRIGUEZ (“Felipe”) is a Hispanic man born

     in Puerto Rico, a citizen of the United States, and has been at all relevant times

     a citizen and resident of the City and State of New York.

           19.     Defendant CITY OF NEW YORK was and is a municipal

     corporation that is a political subdivision of the State of New York, was the

     employer of several of the individual defendants, and was at all times relevant

     to this Complaint responsible for the administrative and managerial policies,

     practices and customs of the New York City Police Department (“NYPD”) and

     the Queens County District Attorney’s Office (“QDAO”).

           20.     Defendant METROPOLITAN TRANSPORTATION

     AUTHORITY (“MTA”) is a public-benefit corporation that administers mass

     transportation in the New York City metropolitan area. At all times relevant to

     this Complaint, the Long Island Rail Road (“LIRR”), which in 1990 had its own

     police force (“LIRR PD”), was a subsidiary unit of the MTA. The MTA is

     liable for torts committed by its employees, including torts committed by

     detectives and officers of the LIRR PD, and was at all times relevant to this

     Complaint responsible for the administrative and managerial policies, practices

     and customs of the LIRR PD.




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           21.     Defendant LONG ISLAND RAIL ROAD COMPANY is a

     subsidiary unit of Defendant Metropolitan Transportation Authority. At all

     times relevant to this Complaint, the LIRR had its own police force, the LIRR

     PD, which merged by statute into Defendant MTA’s police force in 1998. See

     N.Y. Pub. Auth. Law § 1266-h(1).

           22.    At all times relevant to this Complaint, the LIRR PD performed

     traditional police functions in and around the New York City metropolitan area.

     See N.Y. Pub. Auth. Law § 1266-h(1). Officers and detectives of the LIRR PD

     were “police officers” for the purposes of the Criminal Procedure Law. See id.

           23.     Defendant Detective JOHN BEISEL was at all times relevant to

     this Complaint employed by the City of New York as a detective for the NYPD,

     acting under color of law and within the scope of his employment in carrying

     out investigative and other law enforcement functions. He is sued in his

     individual and official capacities.

           24.     Defendant Detective JOHN CALIFANO was at all times relevant

     to this Complaint a duly appointed and acting detective of the NYPD, acting

     under color of law and within the scope of his employment in carrying out

     investigative and other law enforcement functions. He is sued in his individual

     and official capacities.




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            25.     Defendant Detective JOHN WILDE was at all times relevant to

      this Complaint a duly appointed and acting detective of the NYPD, acting under

      color of law and within the scope of his employment in carrying out

      investigative and other law enforcement functions. He is sued in his individual

      and official capacities.

            26.    Defendant Detective JERRY FENNEL was at all times relevant to

      this Complaint a duly appointed and acting detective of the NYPD, acting under

      color of law and within the scope of his employment in carrying out

      investigative and other law enforcement functions. He is sued in his individual

      and official capacities.

            27.     Defendant Sergeant GEORGE ZAROOGIAN was at all times

      relevant to this Complaint a duly appointed and acting officer of the NYPD,

      acting under color of law and within the scope of his employment in carrying

      out investigative and other law enforcement functions. He is sued in his

      individual and official capacities.

            28.     Defendant Detective THOMAS SULLIVAN was at all times

      relevant to this Complaint a duly appointed and acting detective of the LIRR

      PD and also acted as an agent of the NYPD, acting under color of law and

      within the scope of his employment in carrying out investigative and other law

      enforcement functions. He is sued in his individual and official capacities.



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            29.     Defendant Detective CHARLES WENDEL was at all times

      relevant to this Complaint a duly appointed and acting detective of the LIRR

      PD and an agent of the NYPD, acting under color of law and within the scope

      of his employment in carrying out investigative and other law enforcement

      functions. He is sued in his individual and official capacities.

            30.     Defendant Detective John Doe #1, whose actual name Plaintiff

      has been unable to ascertain notwithstanding reasonable efforts to do so, but

      who is sued herein by the fictitious designation “John Doe #1,” was at all times

      relevant to this Complaint a duly appointed and acting detective of the NYPD,

      acting under color of law and within the scope of his employment in carrying

      out investigative and other law enforcement functions. He is sued in his

      individual and official capacities.

            31.     Defendants Does #2 through 10, whose actual names Plaintiff has

      been unable to ascertain notwithstanding reasonable efforts to do so, but who

      are sued herein by the fictitious designations “John Doe” and “Jane Doe,”

      represent those officers, detectives, supervisors, and/or other agents and

      employees of the City of New York, MTA or LIRR PD, acting under color of

      law and within the scope of his employment in carrying out investigative and

      other law enforcement functions, who participated in the misconduct described

      herein. They are sued in their individual and official capacities.



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                                           FACTS

              A.    Background

              32.   In November of 1987, Felipe Rodriguez was 22 years old.

              33.   He resided at 635 Watkins Street in Brooklyn with his wife

      Gladys Rodriguez and their 18-month-old son, Felipe Rodriguez Jr.

              34.   The building was owned by Gladys’s father, who operated a small

      grocery store on the first floor.

              35.   Felipe worked as a maintenance mechanic for Cosmopolitan

      Corp.

              36.   Felipe was a member of Local 32BJ of the Service Employees

      International Union.

              37.   Felipe had volunteered as an auxiliary police officer at the 83rd

      Precinct in Brooklyn from 1982 and 1984.

              38.   Felipe had no criminal record.


              B.    The body of Maureen Fernandez is found behind a warehouse
                    in Queens on Thanksgiving morning of 1987.

              39.   On the morning of November 26, 1987, which was Thanksgiving

      Day, the body of 35-year-old Maureen Fernandez (“Ms. Fernandez”) was found

      in a remote industrial lot in Glendale, Queens.




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              40.    The lot was located behind Dubofsky’s wholesale warehouse,

      which ran adjacent to train tracks.

              41.    Ms. Fernandez’s body was discovered at around 9:00 a.m. by the

      owner of the security company hired to guard the lot.

              42.    Detectives and officers responded to the scene at around 9:30 a.m.

              43.    Ms. Fernandez’s body had 35 stab wounds to the neck, back, and

      pelvic area.

              44.    Tire impressions were found in close proximity to Ms.

      Fernandez’s body, leading police to believe that Ms. Fernandez had been

      transported to the scene in a car driven by her killer.

              45.    No physical evidence collected from the crime scene proved

      useful in identifying the vehicle or its driver.

              46.    No murder weapon was ever found.

              47.    The day after the body was found, detectives interviewed Robert

      Soloney, the night watchman at the Dubofsky’s lot on Thanksgiving morning of

      1987.

              48.    Soloney told police that he saw “a 1980-81 2 dr. white Cadillac”

      leave the lot between 3:00 a.m. and 4:00 a.m.




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            49.     Soloney described the driver of the white Cadillac as a white male

      in his 20s, with no eyeglasses, a thin mustache, short dark hair, and wearing a

      white tank top.

            50.     Soloney did not see any passengers in the white Cadillac.

            51.     Because the location where the victim was found in Queens

      belonged to the Long Island Railroad, the LIRR PD assisted the NYPD’s

      investigation of the crime.


            C.     Hours before her death, Ms. Fernandez had arrived at the
                   Little Liva Bar with an unknown man in a black Monte Carlo.

            52.     Ms. Fernandez spent much of Thanksgiving Eve, November 25,

      1987, at Wyckoff Heights Hospital, 374 Stockholm Street in Brooklyn, where

      her young daughter was being treated.

            53.     A witness who was at the hospital that day told police they

      observed Ms. Fernandez drinking from a liquor bottle.

            54.     At around 1:00 a.m. on November 26, 1987, Ms. Fernandez used

      a hospital phone to call her husband, Carney Fernandez.

            55.     The couple began arguing over the fact that Ms. Fernandez was

      drinking while watching the baby, and Ms. Fernandez hung up on her husband.

            56.     Ms. Fernandez left the hospital shortly after that phone call and

      traveled to the Little Liva Bar at 1189 Gates Avenue in Brooklyn, New York.



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            57.    No witnesses actually saw Ms. Fernandez leave the hospital, so

      detectives did not know whether she left on foot or by car.

            58.    The Little Liva Bar was located approximately one mile from

      Wyckoff Heights Hospital and approximately two miles from where Ms.

      Fernandez’s body would be found hours later behind Dubofsky’s warehouse in

      Queens.

            59.    According to bar patrons, Ms. Fernandez arrived at the Little Liva

      between 2:00 and 2:30 a.m. in the company of an unknown male.

            60.    Bar patrons told police that they believed that Ms. Fernandez and

      the unknown male arrived in a black, late-1970s model Chevrolet Monte Carlo.

            61.    Detectives believed that Ms. Fernandez and the man likely

      departed together in the black Monte Carlo.

            62.    Accordingly, for the next several months, detectives focused on

      locating the black Monte Carlo and its driver.

            63.    Carney Fernandez, Ms. Fernandez’s husband, was also considered

      a suspect.




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               D.    Witnesses describe the man who arrived at the bar with Ms.
                     Fernandez in the black Monte Carlo.

               64.   In the days following the murder, detectives interviewed

      witnesses who interacted with Ms. Fernandez and the unknown man at the

      Little Liva Bar shortly before she was murdered.

               65.   Detectives obtained detailed descriptions of the unknown man

      from bartender Joseph Castillo and bar patrons Robert Thompson and William

      Perry.

               66.   All three witnesses described the unknown man as approximately

      30-years-old, between 5’7 and 5’9, with no mustache and no eyeglasses.

               67.    Thompson added that the man had “reddish brown” hair, was

      “bow-legged,” and was a wearing a “multicolored sweater,” “beige pants,” and

      a gold ring.

               68.   In a second interview in February 1988, bar patron William Perry

      told Det. Wendel and Det. Sullivan that the man with Ms. Fernandez on

      Thanksgiving morning 1987 was Italian or Irish, “not Hispanic,” and had “hazel

      or green” eyes.

               69.   The February interview referenced in the foregoing paragraph was

      not documented in a DD-5.

               70.   The February interview was not disclosed in any way to Mr.

      Rodriguez or his attorneys prior to his trial.


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            71.     More than four months after the murder, on March 17, 1988, Dets.

      Sullivan and Wendel conducted a videotape-recorded interview of Robert

      Thompson.

            72.     Thompson added several details to his earlier description.

            73.     Thompson said the man called himself a “plumber’s helper.”

            74.     Thompson said that the man did not speak with an accent.

            75.     Thompson said that the man looked Italian, not Hispanic.

            76.     Thompson added one further detail to his description of the man

      seen with Ms. Fernandez at the bar: he claimed that the man had a tattoo

      between his palm and index finger and four letters tattooed across his fingers,

      which appeared to read, “LOVE.”

            77.     The descriptions did not resemble Felipe Rodriguez, who had a

      thick mustache, wore eyeglasses, was 22 years old, stood approximately 6’1”

      tall, never had any tattoos, and never wrote the word “LOVE” on his hands.

            78.     Felipe never drove or had access to a black Monte Carlo, the car

      driven by the suspected killer.

            79.     Felipe is Hispanic and has brown eyes.

            80.     In November 1987, Felipe was a mechanic. Felipe never

      identified himself as a “plumber’s helper.”




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            81.     In November 1987, Felipe spoke with a Puerto Rican-inflected

      Spanish accent.


            E.     Detectives investigate the victim’s husband and other suspects.

            82.     From the beginning, detectives working on the Maureen

      Fernandez homicide had information pointing to a number of potential suspects

      other than Felipe.

            83.     One suspect was Ms. Fernandez’s husband, Carney Fernandez.

            84.     Carney had no alibi for the time of his wife’s murder.

            85.     Ms. Fernandez’s friends and family told detectives that Carney

      physically abused Ms. Fernandez, had threatened to kill her, had a violent

      temper when drinking, was jealous of her, and that she wanted to leave him.

            86.     According to police records, one month before the murder, Ms.

      Fernandez told her ex-boyfriend Manny Rivera that “she had just had a fight

      with her husband . . . the fight was over her husband being too jealous of her,”

      and that “Ms. Fernandez was afraid to talk with anyone in the neighborhood

      since her husband would follow her to see who she would meet and talk to.”

            87.     Ms. Fernandez’s friend, Liz Velez, told police that Ms. Fernandez

      was so afraid of Carney that she asked Liz for a gun to defend herself.

            88.     On the night of the murder, Carney and Ms. Fernandez made

      plans to have dinner with their neighbors, James and Mildred White.


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              89.   James White told Det. Sullivan that “Carney began to get upset

      when [Ms. Fernandez] failed to call or come to the White’s house by about 7:00

      p.m.”

              90.   James White “informed [Det. Sullivan and Det. Murphy] that

      Carney is a close friend of his but [Mr. White] does not like to be around him

      when he is angry since he has a very bad temper.”

              91.   Mr. White said that Carney remained at the White’s home until

      approximately 12 midnight and then left.

              92.   Nobody reported seeing Carney again that night.

              93.   Both the Whites and Carney and Maureen Fernandez lived at 531

      Lexington Street in Brooklyn, within one-and-a-half miles of the Little Liva

      Bar, where Ms. Fernandez was seen hours before her death, and within three

      miles of where Ms. Fernandez’s body was found.

              94.   According to police records, as Ms. Fernandez was leaving the

      Little Liva Bar hours before her murder, she told family friend William Perry,

      “please don’t say anything to Carney.”

              95.   The NYPD, in conjunction with the FBI’s Behavior Science Unit,

      conducted a Criminal Personality Profile of Ms. Fernandez’s killer. The Profile

      was based upon information provided by Det. Sullivan, Det. Wendel, and other

      detectives.



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            96.     The Profile stated: “It is believed that the homicide began . . . in a

      private residence . . . [that] this offender should be Hispanic and over the

      victim’s age of 35. He would be between 5’6” and 5’11” . . . [.] The offender’s

      relationship to the victim was not casual. The rage displayed in the initial

      assault clearly indicated the victim was involved in an ongoing relationship

      with the offender. The homicide was the culmination of a continuing problem

      they failed to resolve.”

            97.     Police also had information pointing to a suspect name Jose Perez

      Rivera.

            98.     Less than a month after the murder, detectives received an

      anonymous call that “the male in the [police] sketch . . . lives across the street

      from the Emergency Room of Wyckoff Hospital. . . [and] has an older model

      Monte Carlo good condition.”

            99.     Detectives learned that this man was Rivera, who lived across

      from Wyckoff Hospital and owned a black 1978 Monte Carlo, just like the one

      bar patrons said Ms. Fernandez arrived and departed in on Thanksgiving

      morning.

            100.    Records showed that Rivera was 5’7 tall, within the 5’7 to 5’9

      range of the man seen with Ms. Fernandez at the Little Liva Bar.




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            101.    In August 1988, Police characterized Rivera as “a person of

      interest,” but appear to have abandoned their investigation of Rivera after

      encountering difficulty locating him.

            102.    Detectives identified another man, Eddie Ruiz as a suspect who fit

      the description the man seen at the bar: 5’7 or 5’8, thin build, wore gold

      jewelry, and drove a black car.

            103.    According to police reports, Eddie Ruiz was believed to have

      known Ms. Fernandez, and on one occasion he assaulted Ms. Fernandez’s

      female relative.

            104.    In February 1988, bartender Joseph Castillo identified Ruiz out of

      a photo array as the person who was with Ms. Fernandez the morning she was

      murdered.

            105.    Castillo’s identification of an alternative suspect was not

      documented in a DD-5.

            106.    Castillo’s identification of an alternative suspect was not disclosed

      to the defense before the trial.

            107.    Additionally, in April of 1988, detectives received a tip that a

      person named Edward Denning fit the composite sketch of the man seen with

      Ms. Fernandez the morning she was murdered.




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            108.      The tipster stated that Denning “has a very violent temper and is

      known to frequent bars.”

            109.      Denning, a 28-year-old white man, was a police officer with

      NYPD’s 60th Precinct.

            110.      All three bar witnesses—Joseph Castillo, William Perry, and

      Robert Thompson—described the man with Ms. Fernandez as being white,

      between ages 28 and 32. See ¶¶ 68, 75, 317.

            111.      In May 1988, detectives interviewed the tipster, who described

      Denning as a “crazy wacko” who used drugs, “beat up his sister,” and “was not

      very stable.”

            112.      In July 1988, detectives contacted the NYPD’s Internal Affairs

      Division and learned that Denning was “on sick report” from November 23 to

      November 25, 1987 (Thanksgiving eve), and that Denning also did not work on

      November 26 (when the murder took place) or November 27, 1987.

            113.      Despite this information, detectives failed to pursue Denning as a

      suspect in Ms. Fernandez’s murder.


            F.        More than nine months after the murder, the investigation
                      shifts to a car formerly owned by Javier Ramos, a Wyckoff
                      Heights Hospital security guard.

            114.      In April 1988, Det. Beisel was assigned by the NYPD to lead the

      investigation into Ms. Fernandez’s murder.


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            115.   Struggling to track down the black Monte Carlo or its owner, Det.

      Beisel shifted the investigation’s focus to the white Cadillac that watchman

      Robert Soloney had seen leaving the lot where Ms. Fernandez’s body was

      found.

            116.   Detectives learned about a white car owned by Pete Sierra, a

      security guard at Wyckoff Heights Hospital, where Ms. Fernandez spent time

      on Thanksgiving Eve 1987 before going to the Little Liva Bar.

            117.   In August 1988, detectives located Sierra’s car near Wyckoff

      Heights Hospital.

            118.   Sierra’s car was different from the car Soloney described as

      leaving the lot on Thanksgiving morning of 1987.

            119.   First, Sierra’s car was an Oldsmobile, but Soloney described a

      Cadillac.

            120.   Second, Sierra’s Oldsmobile had a red roof, but Soloney

      described an all-white car.

            121.   Despite these differences, Det. Beisel obtained permission from

      Sierra to voucher the white-and-red Oldsmobile as evidence.

            122.   Sierra had purchased the Oldsmobile in early 1988 from a fellow

      Wyckoff Heights Hospital security guard named Javier Ramos.




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              123.   Ramos, not Sierra, owned the car at the time of the murder, in

      November 1987.

              124.   On or about September 9, 1988, Ramos visited the 104th Precinct

      to inquire why his former car, the white-and-red Oldsmobile, had been taken by

      the police.

              125.   When Ramos entered the precinct, he was unaware that detectives

      were trying to connect his former car to a homicide.


              G.     Detectives coerce Javier Ramos into accusing Richard Pereira,
                     who is arrested, cleared, and released.

              126.   At the 104th Precinct, Det. Beisel took Ramos into an interrogation

      room.

              127.   Led by Det. Beisel, detectives interrogated Ramos for

      approximately 13 hours.

              128.   Detectives used coercive tactics to get Ramos to either confess to

      the murder or lead them to another suspect.

              129.   Det. Beisel was assisted in the interrogation by NYPD Sergeant

      Zaroogian, NYPD detectives John Califano, John Wilde, and Jerry Fennel, and

      LIRR PD detectives Thomas Sullivan and Charles Wendel.




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                130.   The detectives told Ramos, falsely, that they “knew” his former

      car was used in a murder and that either he committed the murder or knew who

      did it.

                131.   Detectives threatened to prosecute Ramos for the murder.

                132.   Det. Beisel pushed Ramos, threatened to maim or kill him, called

      him a “spic” and a “Hispanic prick,” denied him food, water, and the use of a

      bathroom, and refused his request to leave.

                133.   The other detectives failed to intervene.

                134.   Ramos told detectives he had painted the roof of his car red in

      September or October of 1987, which was before the murder was committed at

      the end of November.

                135.   This meant Ramos’s car, besides not being a Cadillac, could not

      have been the all-white vehicle observed by the night watchman.

                136.   Ramos told the detectives that, in the past, he had loaned his car to

      two friends, Richard Pereira and Felipe Rodriguez, but did not indicate he had

      done so at the time of the murder.

                137.   Det. Beisel demanded that Ramos take him to Felipe’s residence.

                138.   Det. Beisel, Det. John Califano, and Det. John Wilde put Ramos

      in an unmarked police car and directed Ramos to lead them to Felipe’s

      residence, 635 Watkins Street in Brooklyn.



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               139.   On the way, the detectives stopped at Cypress Hill Cemetery in

      Brooklyn and threatened to kill Ramos if he did not either admit to the murder

      or implicate Felipe.

               140.   Ramos gave the detectives what they demanded: he told them that

      he loaned the car to both Felipe and Pereira at the time of the murder.

               141.   This information was false.

               142.   The detectives proceeded to 635 Watkins Street with Ramos, but

      Felipe was not home.

               143.   Det. John Califano later created a DD-5 stating that “Mr. Ramos

      said his friend . . . Felipe Rodriguez, may have information regarding this

      homicide,” and that “Felipe borrowed his car on the night of the incident.”

               144.   This DD-5 was intentionally misleading, as Ramos only made

      those statements because he was afraid for his life.

               145.   Det. Califano was aware that the statements in the DD-5 were

      false.

               146.   After finding that Felipe was not home, the detectives returned

      with Ramos to the 104th Precinct, where they continued to threaten and coerce

      him.

               147.   At about 1:00 a.m. on September 10, 1988, Ramos signed an

      affidavit falsely implicating Pereira in the murder of Maureen Fernandez.



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            148.    The affidavit was witnessed by Det. John Beisel and Sgt. George

      Zaroogian, and notarized by Det. Wendel.

            149.    The affidavit told a false narrative concocted by the detectives and

      fed to Ramos: one night “around Thanksgiving” of 1987, Ramos loaned his car

      to fellow Wyckoff Hospital employee Richard Pereira. Pereira was wearing a

      black leather jacket, a “multi-colored sweater,” “beige pants,” and several

      pieces of jewelry. Pereira promised to return the car by midnight but did not

      return it until 6:00 a.m. the next morning. Pereira, who appeared intoxicated,

      apologized for bringing the car back late and explained that “he got into an

      argument with a low-life bitch that he had met at the hospital.” Several hours

      later, Ramos noticed “a red liquid substance on the front passenger seat,

      armrest, passenger door and window and floor mat.” Ramos then traveled to a

      store, purchased rug and upholstery cleaner, and cleaned the car out. Several

      months later, Pereira threatened Ramos with a gun.

            150.    The detectives knew they had coerced Ramos to sign this affidavit

      and that its contents were false.

            151.    The detectives purposefully included in it that Pereira had been

      wearing a “multi-colored sweater” and “beige pants” because Little Liva Bar

      patron Robert Thompson had described the man with Ms. Fernandez on

      Thanksgiving eve 1987 as wearing that clothing.



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            152.    At some point during the interrogation, Ramos told Sgt.

      Zaroogian that the story was not true and complained about how he was being

      treated by the detectives.

            153.    Det. Beisel fabricated a DD-5 about the September 9-10, 1988,

      interrogation. Beisel and Sgt. Zaroogian signed the false DD-5.

            154.     The fabricated DD-5 contained an additional statement, which

      was not in Ramos’s signed affidavit, that Pereira had said to him: “I’m sorry I

      took so long with it [the car]. This low life bitch [] that I met [at] the hospital – I

      got into an argument with. I had to do to what I had to do. I had to stab her.”

            155.    Det. Beisel’s DD-5 also falsely stated that the morning after the

      murder, Ramos and his grandfather traveled to a local store to buy cleaner, and

      together cleaned the blood out of Ramos’s car.

            156.    Beisel and other detectives forwarded the false affidavit and false

      DD-5 to the Queens District Attorney’s Office, but the manner in which

      detectives coerced Ramos into adopting the affidavit’s contents and signing it

      was not disclosed to the defense.

            157.    The fact that detectives fed Ramos the information contained in

      the DD-5 and in the affidavit was not disclosed to the defense.

            158.    Detectives let Ramos go home only after they had coerced him

      into signing the affidavit.



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            159.    Later the same morning, based on the fabricated affidavit,

      detectives arrested Richard Pereira for the murder of Maureen Fernandez.

            160.    At the precinct, Det. Beisel handcuffed Pereira to a chair and

      interrogated him in an effort to force him to confess. During this interrogation,

      Beisel smacked Pereira so hard that Pereira and the chair fell to the ground.

            161.    However, three witnesses then failed to identify Pereira at a

      lineup.

            162.    Detectives then were compelled to void Pereira’s arrest and let

      him go home.

            163.    Detectives submitted cuttings from the white-and-red Oldsmobile

      to the FBI for serology and early-generation DNA tests.

            164.    No blood or trace of blood or other human tissue or body fluid

      was present on the cuttings.


            H.     Detectives secretly record Ramos admitting that he did not
                   have any information about the murder and that his car was
                   not even operable on Thanksgiving 1987.

            165.    In late September 1988, Det. Beisel, Det. Fennel and Det. Wendel

      placed a Nagra recording device on Richard Pereira and sent him to confront

      Javier Ramos at Wyckoff Heights Hospital, where they both worked.

            166.    During the recorded conversation, Pereira asked Ramos where his

      car was on Thanksgiving 1987.


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            167.    Ramos responded: “my car was parked in front of my mother-in-

      law’s house, because my battery [] was dead . . . I told them all of this. And yet

      they didn’t, they didn’t, want to hear that…They wanted me to confess to

      something.”

            168.    Pereira asked why Ramos signed the September 10 affidavit

      accusing Pereira of the murder, and Ramos responded: “Listen to me. When I

      put down the statement, that’s just what they’re telling me.” Ramos further

      stated, “I don’t know anything about it.”

            169.    When asked about cleaning blood in his car, Ramos said, “No, I

      didn’t clean blood . . . I cleaned up a red substance, it could have been a juice . .

      .”

            170.    During the taped conversation, both men discussed the abusive

      interrogation tactics used against them.

            171.    Pereira described being “smacked” by police “all night long.”

            172.    Ramos referred to having gone through “an ordeal” with police.

            173.    Ramos told Pereira he was being “chased” and “follow[ed]

      around” by police, and “is still in shock.”

            174.    Ramos stated in the recorded conversation: “They said that it’s my

      car, you understand? That is something that it seems they are using, no? To

      bring, you understand, to ask questions.”



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            I.     Det. Beisel fabricates a report about an interview with Felipe’s
                   wife.

            175.   In late September 1988, Det. Beisel and Sgt. Zaroogian

      interviewed Felipe’s wife, Gladys Rodriguez, outside the couple’s home at 635

      Watkins Street in Brooklyn.

            176.   Gladys told the detectives that she and Felipe were home together

      on Thanksgiving Eve and Thanksgiving Day.

            177.   When asked whether Felipe ever wrote the word “LOVE” on his

      hand, like the man in the bar that Robert Thompson saw with the victim hours

      before the murder, Gladys said no.

            178.   Det. Beisel asked whether Felipe wore glasses (unlike the man in

      the bar), and Gladys responded that he did.

            179.   Det. Beisel asked whether Felipe had a mustache in November

      1987 (unlike the man in the bar), and Gladys answered yes, Felipe always had a

      thick mustache.

            180.   Instead of accurately documenting the interview with Gladys, Det.

      Beisel falsified a DD-5 purporting to memorialize it.

            181.   The DD-5 falsely stated that Gladys said she could not remember

      where Felipe was on Thanksgiving Eve 1987 and the following morning, that

      Felipe “might have had a slight mustache” in November 1987, and that Felipe

      “would borrow Javier’s car whenever he needed.”


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            182.    The DD-5 omitted Gladys’s denial that Felipe ever wrote the word

      “LOVE” on his hand, nor did it include that Felipe wore glasses and had a

      mustache, unlike the man at the bar with the victim.

            183.    Det. Beisel left Gladys his phone number and asked that Felipe

      call him back.


            J.     Det. Beisel unsuccessfully attempts to elicit a confession from
                   Felipe, then files a false police report to make Felipe appear
                   guilty.

            184.    On or about September 25, 1988, Felipe received Det. Beisel’s

      number from Gladys and called him.

            185.    Det. Beisel asked Felipe if he would speak with him at the 104th

      Precinct, and Felipe agreed.

            186.    During their meeting, Det. Beisel repeatedly asked Felipe whether

      he knew anything about an incident involving Ramos’s car on Thanksgiving

      Eve, and Felipe denied it.

            187.    Felipe explained that he was home with his wife on the previous

      Thanksgiving Eve.

            188.    In an unnumbered DD-5 dated September 25, 1988, Det. Beisel

      falsely attributed prejudicial statements to Felipe that Felipe never made.

            189.    Det. Beisel falsely wrote: “Mr. Rodriguez stated he liked to go to

      the hospital morgue and look at the dead bodies. He said he liked to look at the


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      messed up bodies not just the old people that died. He then continued that he

      liked to look at the homicide victims.”

            190.    Det. Beisel also falsely wrote: “Mr. Rodriguez stated that he

      worked for a construction company as a plumber and he was working in the

      area fixing it up.”

            191.    Det. Beisel included this false detail because witness Robert

      Thompson had stated that the man at the bar with Ms. Fernandez said he was a

      plumber’s helper. See ¶ 73, supra.


            K.     Detectives coerce Javier Ramos into signing a false affidavit
                   accusing Felipe of murder

            192.    For approximately six months following the interviews and

      lineups in September 1988, Det. Beisel visited Javier Ramos multiple times

      each week at Wyckoff Hospital.

            193.    During these visits, Det. Beisel threatened and pressured Ramos

      to implicate Felipe in the murder of Maureen Fernandez.

            194.    Det. Beisel did not document any of these meetings.

            195.    Det. Beisel did not document any other action he took on the case

      during this six-month period between September 1988 and March 1989.




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            196.    On March 27, 1989, having failed to solve the Fernandez murder

      for 16 months, Det. Beisel and Det. Sullivan picked up Javier Ramos and drove

      him to the 104th Precinct.

            197.    Det. Beisel and Det. Sullivan brought Ramos into an interrogation

      room, where Sgt. Zaroogian, Det. Fennel and Det. Wendel were also present.

            198.    Ramos was facing the same detectives who, six months earlier,

      coerced his statement falsely accusing Richard Pereira of the murder.

            199.    This time, Ramos was interrogated for approximately seven hours.

            200.    To induce Ramos to accuse Felipe, Det. Beisel falsely told Ramos

      that Felipe had accused Ramos of the murder.

            201.    Beisel then falsely stated that Felipe’s DNA had been found in

      Ramos’s Oldsmobile and that Felipe’s clothing matched the eyewitness

      description of the apparent murderer.

            202.    When Ramos succumbed to the coercive tactics and agreed to

      provide a statement implicating Felipe, the detectives called ADA David

      Dikman to the precinct in order to prepare an affidavit for Ramos falsely

      accusing Felipe of committing the murder.

            203.    Det. Beisel, Det. Sullivan, ADA Dikman and Sgt. Zaroogian

      placed a false affidavit in front of Ramos.




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               204.   The affidavit was almost identical to the September 1988 affidavit

      accusing Richard Pereira of the murder.

               205.   However, knowing they had failed to make a case against Pereira,

      the detectives now substituted Felipe for Pereira in the affidavit.

               206.   The affidavit stated that Felipe called Javier at Wyckoff Heights

      Hospital on Thanksgiving eve 1987 and asked to borrow the Oldsmobile, and

      Javier agreed; that Felipe arrived at the hospital in “beige pants” and “a multi-

      colored sweater;” that Felipe promised to have the car back at the hospital by

      midnight, but instead returned the car at 6:00 a.m. to Javier’s apartment; that

      Felipe apologized for not bringing the car back on time; and that Felipe

      admitted to getting into an altercation with a “bitch” and then stabbing her to

      show her she “was dealing with a man, not some boy.”

               207.   The detectives knew this affidavit was false in its entirety.

               208.   The affidavit was signed by Ramos and Det. Sullivan and

      notarized by ADA Dikman.

               209.   Det. Beisel created a DD-5 falsely stating that Ramos “named

      Felipe Rodriguez as the person that borrowed his auto [on Thanksgiving eve

      1987] and the same person that returned it the following day,” when in fact Det.

      Beisel fed Ramos this story and coerced him into signing the affidavit swearing

      to it.



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            L.     Detectives arrest Felipe for a murder they know he did not
                   commit.

            210.    On March 27, 1989, ADA Dikman authorized Det. Beisel to arrest

      Felipe Rodriguez for the murder of Maureen Fernandez.

            211.    Det. Beisel, Det. Fennel, and Det. Wendel drove Felipe to the

      104th Precinct.

            212.    Felipe was wearing glasses, unlike the man last seen with Ms.

      Fernandez on the night of the murder.

            213.    Det. Beisel took Felipe into an interrogation room.

            214.    As he had six months earlier, Det. Beisel asked Felipe several

      times where he was during the early morning hours of Thanksgiving 1987.

            215.    As he had six months earlier in September 1988, Felipe told Det.

      Beisel that he was home with his wife and young son.

            216.    This fact had been corroborated by Felipe’s wife, Gladys, in

      September 1988.

            217.    Det. Beisel nevertheless demanded several times that Felipe admit

      to a crime about which Felipe knew nothing.

            218.    Felipe asked for a lawyer.

            219.    Det. Beisel ignored the request.

            220.    No attorney was provided to Felipe.

            221.    Det. Beisel said, “I think you’re a fucking liar.”


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            222.    Det. Beisel yelled at Felipe: “Listen, one of you spics is going

      down for this!”

            223.    Detective Beisel specifically used the word “spic,” which is racist

      slang for Hispanic.

            224.    Felipe knew nothing about the murder, so he stopped answering

      Det. Beisel’s questions.

            225.    Det. Beisel handcuffed Felipe and brought him to a holding cell.

            226.    Det. Beisel prepared an unnumbered DD-5 of the March 27, 1989,

      interrogation and arrest of Felipe that falsely states that “Mr. Rodriguez made

      no statements” on March 27, 1989.

            227.    In contrast, Det. Sullivan’s LIRR PD memo about the March 27,

      1989, interrogation states: “During questioning, [Felipe] gave several negative

      exculpatory statements and then refused to answer any further questions.”

            228.    Today, the Queens District Attorney’s Office concedes that Det.

      Sullivan’s memo was not disclosed to the defense.


            M.     Detectives fabricate lineup evidence by manipulating Robert
                   Thompson into “identifying” Felipe.

            229.    In the evening of March 27, 1989, Felipe was placed in a lineup at

      the 104th Precinct.




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            230.   The lineup was conducted by Det. Beisel and supervised by Sgt.

      Zaroogian.

            231.   The three lineup witnesses were Robert Thompson, Joseph

      Castillo, and William Perry, each of whom had told police they saw Maureen

      Fernandez with an unknown male at the Little Liva Bar on the night of the

      murder, 16 months earlier.

            232.   Before conducting the lineup, Det. Beisel walked Felipe, who was

      handcuffed, past witness Robert Thompson, who saw Felipe.

            233.   The other lineup participants (the “fillers”) did not look like

      Felipe.

            234.   The fillers were either much thinner, much shorter, had lighter

      skin, or appeared much older.

            235.   Det. Beisel handed Felipe a sign with the number “3.”

            236.   When the first witness, Robert Thompson, viewed the lineup,

      Felipe heard Det. Beisel tell Thompson he would ask “three questions,”

      emphasizing the word “three.”

            237.   Det. Beisel asked Thompson if he recognized anyone in the

      lineup.

            238.   Thompson said yes, “number 3, but he is a lot thinner and his hair

      is longer now.”



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             239.    Felipe’s hair did not appear longer at the time of the lineup than it

      in fact had been in November 1987.

             240.    The second witness, bar patron William Perry, was not able to

      identify anyone.

             241.    The third and final witness, Little Liva bartender Joseph Castillo,

      identified a filler.

             242.    After he was “identified” by Thompson, Felipe was sent to

      Queens Central Booking and then, after an arraignment, to Rikers Island.


             N.      Felipe is indicted based on fabricated evidence and the
                     suppression of exculpatory evidence.

             243.    On March 28, 1989, Det. Beisel signed a criminal complaint

      alleging that Felipe murdered Maureen Fernandez on November 26, 1987.

             244.    The Queens District Attorney’s Office assigned ADA Dikman to

      handle the prosecution.

             245.    Det. Beisel and the other detectives forwarded ADA Dikman false

      and misleading evidence that was highly likely to influence the course of the

      prosecution.

             246.     Based upon such information, ADA Dikman drafted a

      “prosecution memo” that he submitted to the Queens District Attorney, John




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      Santucci, summarizing the purported evidence against Felipe in order to obtain

      the DA’s approval to seek an indictment from a grand jury.

            247.   The principal evidence on which the memo was based was Javier

      Ramos’s false affidavit claiming that Ramos had loaned Felipe his car on

      Thanksgiving Eve and that afterwards Felipe “made admissions to him about a

      stabbing.”

            248.   The memo also cited the false information, provided by Det.

      Beisel, that on the Nagra tape was “conversation indicating [Ramos] gave the

      car to Felipe Rodriguez, the defendant,” when in fact Ramos can be heard on

      the tape saying he knew nothing about the murder and had not loaned his car to

      Felipe on the night of the murder.

            249.   The prosecution memo falsely stated that Ramos saw a red

      substance in the Oldsmobile and “said it was blood,” when, to the contrary,

      Ramos can be heard on the Nagra tape saying the substance was not blood.

            250.   The memo falsely stated that Ramos painted the roof of the

      Oldsmobile red after the murder even though Ramos told detectives he painted

      the roof a month before the murder and thus the eyewitness description of the

      car as being all white meant Ramos’s car could not have been the vehicle

      observed leaving the crime scene.




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               251.   Beisel also misled Dikman into writing in the memo that Felipe’s

      wife Gladys did not provide an alibi, when in fact Gladys had told Beisel and

      Zaroogian that Felipe was home with her and their son when the murder took

      place.

               252.   The memo stated that bartender Joseph Castillo identified Felipe

      in a photo array conducted by Det. Beisel, but omitted that, in an earlier photo

      array, Castillo identified a different suspect, Eddie Ruiz. See ¶ 104, supra.

               253.   The prosecution memo failed to note that Castillo picked out

      fillers at the lineups of both Richard Pereira and Felipe.

               254.   The prosecution memo stated that Robert Thompson picked

      Felipe out of a lineup as the person he saw at the Little Liva with the victim on

      Thanksgiving Eve 1987, 16 months earlier.

               255.   However, the prosecution memo omitted that the lineup was

      highly suggestive, that Thompson was extremely intoxicated on Thanksgiving

      eve 1987, and that Thompson had been paid for his “cooperation” and “ongoing

      assistance” in the murder investigation.

               256.   The prosecution memo failed to note that Felipe did not match the

      height and age of the suspect seen with the victim hours before her death or

      that, unlike the suspect, Felipe had a thick mustache and wore glasses.




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            257.    The prosecution memo failed to note that William Perry

      specifically told detectives that the person he saw at the bar was “not Hispanic.”

            258.    Based on the false or misleading contents of the prosecution

      memo, and the prosecution memo’s omission of exculpatory and impeachment

      evidence, DA Santucci or his delegates approved the case for presentment to a

      grand jury.

            259.    ADA Dikman presented the case to a grand jury on or about

      March 29, 1989 and on or about March 31, 1989.

            260.    ADA Dikman presented the grand jury with fabricated evidence

      forwarded to him by detectives, including the coerced and fabricated testimony

      of Javier Ramos. See ¶¶ 196-209, supra.

            261.    At the grand jury, Ramos falsely testified that Felipe borrowed his

      car on the night of the murder and admitted to the stabbing.

            262.    Ramos falsely testified that the car was completely white at the

      time of the murder, even though he previously told detectives that he had

      already painted the roof red by that time.

            263.    Ramos falsely testified that he found “what appeared to be blood”

      in the car, even though detectives had surreptitiously recorded Ramos on the

      Nagra tape stating that the substance was not blood.

            264.    Joseph Castillo testified that he identified Felipe in a photo array.



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            265.    The grand jury was not informed that Castillo failed to identify

      Felipe at an in-person lineup, or that Castillo identified a different suspect at a

      prior photo array.

            266.    Thompson testified that, at the lineup, he recognized Felipe as the

      man he saw at the Little Liva Bar with the victim shortly before the murder.

            267.    The lineup procedures were suggestive, and Thompson’s

      identification was fabricated. See ¶¶ 229-242, supra.

            268.    The grand jury, having been presented with fabricated evidence

      and not presented with exculpatory evidence, indicted Felipe of murder in the

      second degree and criminal possession of a weapon in the fourth degree.

            269.    On April 27, 1989, Felipe passed a polygraph lie-detector

      examination administered by Richard Arther, a well-known polygraphist.

            270.    During the polygraph interview, Felipe truthfully stated he had no

      involvement in the murder of Maureen Fernandez.

            271.    As a result of passing the polygraph test, Felipe was ordered

      released on bail on or about May 19, 1989.


            O.     Felipe is convicted based on fabricated evidence and the
                   suppression of exculpatory evidence.

            272.    Felipe stood trial in Queens Supreme Court before Justice Ralph

      Sherman from April 23 to May 2, 1990.



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             273.   In preparation for trial, detectives provided the Queens DA’s

      Office with more than 200 DD-5s.

             274.   As described in this Complaint, many of those DD-5s included

      false information and omitted exculpatory information.

             275.   Prior to trial, detectives also forwarded to the Queens District

      Attorney’s office the Nagra tape recording of the conversation between Javier

      Ramos and Richard Pereira in September 1988.

             276.   The Nagra recording established that Ramos’s car was unlikely to

      have been used in the murder of Maureen Fernandez and that Ramos did not

      loan the car to Felipe on the night of the murder. See ¶¶ 165-174, supra.

             277.   ADA Alan Safran, who tried the case against Felipe, listened to

      the recording prior to trial.

             278.   Safran knew or should have known that the recording would have

      severely impeached Mr. Ramos’s trial testimony, which is described below in

      paragraphs 284 through 289.

             279.   Safran failed to disclose the Nagra tape to Felipe’s trial counsel.

             280.   The District Attorney had no policy governing the disclosure of

      tape recordings to the defense.

             281.   The recording and the information contained therein was highly

      favorable to the defense.



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            282.    The recording and the information contained therein was material

      to the outcome of the trial at which Felipe was convicted.

            283.    ADA Safran’s opening statement highlighted the false allegation

      that detectives coerced from Javier Ramos: “[Felipe] said to his friend, Javier, ‘I

      stabbed the bitch to prove she was dealing with a man, not a boy.’”

            284.    After more than a year of threatening Ramos with violence and

      prosecution, Det. Beisel and John and Jane Doe Police Officers #1 - 9 directed

      Ramos to provide testimony that the detectives knew was false. That testimony

      is summarized below.

            285.    Ramos falsely testified that Felipe borrowed Ramos’s car on

      Thanksgiving Eve of 1987, then returned the next morning and stated, “I got

      into an argument . . . with a stupid bitch and I had to stab her to prove to her

      that I was a man.”

            286.    Ramos falsely testified that he painted the roof of his car red in

      mid-December 1987, despite that when he was first interviewed by

      investigators, Ramos said he painted the roof red in October 1987, a month

      before the murder.

            287.    Ramos falsely testified that he found “a red substance with a foul

      smell” in the vehicle that was not present the previous day.




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            288.     Ramos falsely testified that Felipe was “clean shaven” in

      November 1987.

            289.    Ramos falsely testified that Felipe did not wear glasses in

      November 1987.

            290.    Detectives also fed Robert Thompson false, inculpatory

      information and directed him to repeat that information at trial.

            291.    On April 26, 1990, before Thompson testified, Det. Beisel and

      John Doe Police Officer #10 were overheard in the hallway of the courtroom

      telling Thompson, “don’t forget to say what I told you to say.”

            292.    Robert Thompson, who had been secretly paid for his

      “cooperation” and “ongoing assistance,” did not forget what to say.

            293.    Thompson falsely testified that he recognized Felipe as the man at

      the Little Liva Bar with the victim on Thanksgiving 1987.

            294.    Thompson falsely testified that he saw Felipe at the bar with the

      word “LOVE” written on his fingers.

            295.    Police Officer Thomas Rosa, who supervised Felipe in the

      auxiliary police force, testified that Felipe did not wear glasses, that,

      “sometimes, [Felipe] didn’t have a mustache,” and that Felipe had “markings on

      both of his hands.”

            296.    Rosa’s testimony described in the preceding paragraph was false.



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            297.   Rosa made these false statements at trial because Det. Beisel and

      other police officers coached him to do so.

            298.   Wyckoff Heights Hospital worker Patricia Owens falsely testified

      that she saw Felipe at the hospital with the word “LOVE” written on his hand.

            299.   Det. Beisel and other police officers told Owens to make this false

      statement.

            300.   At trial, Det. Beisel repeated many of the lies he wrote in the

      fabricated DD-5s.

            301.   Det. Beisel falsely testified that, during the March 1989 lineup,

      Felipe chose sign number “3”.

            302.   In fact, Beisel assigned Felipe that number.

            303.   Det. Beisel falsely testified that Felipe told him “he liked to go to

      the hospital morgue and look at the dead bodies. He said, he liked to look at the

      messed up bodies, not the old people, that died, he liked to look at the homicide

      victims.”

            304.   Det. Beisel falsely testified that he never saw Felipe with glasses.

            305.   In addition to the Nagra tape, other exculpatory and impeachment

      evidence was withheld from the defense, including, without limitation, the

      evidence described below in paragraphs 306 through 328.




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            306.       Detective Sullivan created a handwritten note documenting an

      interview of Javier Ramos.

            307.       The note states: “Rodriguez showed up at Ramos’ house 6:00 AM

      Thanksgiving morning with M/B friend, 25 years old, slim dk skinned blk.”

            308.       This note indicates that Ramos told Sullivan that Felipe showed

      up at Ramos’s home on the day of the murder with a slim, 25-year-old dark-

      skinned African-American male friend.

            309.       The note contradicts Ramos’s March 1989 affidavit and his trial

      testimony that Felipe arrived alone at Ramos’s apartment to return the car on

      Thanksgiving morning of 1987.

            310.       On at least two occasions in 1988, Det. Sullivan gave money to

      Robert Thompson for “cooperation” and “ongoing assistance” in the Fernandez

      investigation.

            311.       Had the payments been disclosed, they would have significantly

      impeached Thompson’s credibility at trial, where he falsely identified Felipe as

      the man at the Little Liva Bar with Ms. Fernandez.

            312.       Another piece of undisclosed evidence was a handwritten note by

      Det. Wendel stating that bar patron William Perry told Defendants Sullivan and

      Wendel that man in the bar with Nina was Italian or Irish, “not Hispanic,” and

      had “hazel or green eyes.”



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            313.    This information was exculpatory because Felipe is Hispanic and

      has brown eyes.

            314.    The detectives failed to document this description in a police

      report.

            315.    The defense was never notified that Perry gave this description.

            316.    This description would have made William Perry a valuable

      defense witness at trial.

            317.    A separate handwritten note by Det. Sullivan states that bartender

      Joseph Castillo saw the victim enter and leave the bar with a white male, not a

      Hispanic male.

            318.    This description was not recorded in a police report.

            319.    The description was never disclosed to the defense.

            320.    The description would have impeached Castillo’s false in-court

      identification of Felipe as the man seen at the bar with the victim.

            321.    In addition, according to handwritten notes, Detectives Wendel

      and Sullivan conducted a photo array with Joseph Castillo on February 11,

      1988, during which Castillo identified a different suspect, Edwin Ruiz, as the

      man he saw at the bar with the victim.

            322.    This identification would have been especially useful to the

      defense because Edwin Ruiz drove a black car that was similar in appearance to



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      the car seen outside the Little Liva Bar on the night of murder, and because

      Ruiz more closely matched the physical description of the bar suspect than did

      Felipe.

            323.    The detectives failed to make a police report of Castillo’s

      identification of Ruiz.

            324.    The identification was never disclosed to the defense.

            325.    This information, too, would have impeached Castillo’s false in-

      court identification of Felipe as the man seen at the bar with the victim.

            326.    Defendants Sullivan, Wendel, Beisel, Fennel, Califano, Wilde and

      Zaroogian knew that the roof of Ramos’s Oldsmobile had been painted red

      before the murder, such that the car could not have been the all-white car

      allegedly seen leaving the scene of crime. See ¶¶ 134-135 supra.

            327.    Detectives Sullivan and Wendel documented this fact in a police

      report and in handwritten notes.

            328.    However, neither the report nor the notes (or their contents) was

      disclosed to the defense.

            329.    On May 2, 1990, Felipe was convicted of one count of murder in

      the second degree and one count of criminal possession of a weapon in the

      fourth degree.

            330.    Felipe was remanded into custody that day.



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              331.   On May 25, 1990, Felipe was sentenced to a term of twenty-five-

      years-to-life imprisonment.

              332.   At the time of his sentencing, Felipe Rodriguez was 24 years old.

              333.   His son, Felipe Jr., was three.

              334.   Felipe filed motions to vacate his conviction in 1992 and 1994,

      but both motions were denied.


              P.     Felipe is wrongfully imprisoned for almost 27 years before
                     receiving executive clemency from Gov. Andrew Cuomo.

              335.   Felipe spent 26 years, eight months and 25 days in custody, in

      high security state prisons, following his conviction. He spent at least an

      additional 52 days in jail after his arrest.

              336.   He was finally released from Otisville Correctional Facility on

      January 26, 2017, at age 52.

              337.   Felipe was released pursuant to a rare grant of executive clemency

      announced by Gov. Andrew Cuomo on December 30, 2016.

              338.   Under the terms of the grant of clemency, Felipe remained under

      the supervision of the New York State Division of Parole for a period of one

      year after his release.

              339.   He successfully completed this term of supervision on January 26,

      2018.



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              Q.     Felipe is fully exonerated based on Ramos’s recantation and
                     newly discovered evidence released by the Queens District
                     Attorney’s office.

              340.   While Felipe was still incarcerated, his attorneys re-investigated

      his prosecution and conviction.

              341.   On December 20, 2017, Javier Ramos recanted his trial testimony

      to the defense.

              342.   Ramos explained that he was coerced by detectives, who fed him

      the entire story about Felipe borrowing his car and admitting to murder.

              343.   In 2021, Ramos repeated this recantation in detail under oath at a

      deposition in Felipe’s wrongful conviction lawsuit against the State of New

      York.

              344.   After Felipe’s sentence was commuted, the QDAO also conducted

      a reinvestigation of the case.

              345.   During that reinvestigation, the QDAO discovered that the People

      failed to disclose exculpatory evidence at trial.

              346.   In 2019, Felipe again moved the Supreme Court, Queens County

      to vacate all counts of his conviction and to dismiss the indictment in its

      entirety.

              347.   The QDAO joined Felipe’s 2019 motion.




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            348.    On December 30, 2019, the Hon. Joseph Zayas granted the

      motion on the basis of newly discovered evidence that Felipe is innocent and

      that the judgment was obtained in violation of Felipe’s constitutional rights,

      pursuant to New York State Criminal Procedure Law (“CPL”) Sections

      440.10(1)(g) and 440.10(1)(h).

            349.    At the December 30, 2019, hearing, Assistant District Attorney

      Robert J. Masters of the QDAO stated in open court that Det. Sullivan’s

      handwritten note, described in ¶¶ 306-309, supra, and other exculpatory

      material was withheld from Felipe at trial, in violation of Brady v. Maryland,

      373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and the laws

      of the State of New York. See People v. Felipe Rodriguez, Ind. 1568/89,

      Transcript of 440.30 Hearing (Dec. 30, 2019).

            350.    ADA Masters stated that the withheld documents “would have

      impeached Mr. Ramos, would have impeached [Det. Sullivan] . . . [and] would

      have impeached the entire investigation.” Id. at 19:16-17.

            351.    ADA Masters stated that “it would have been a different trial had

      this piece of paper been made available and no one would have been surprised

      by a different[] verdict.” Id. at 19:25-20:2.

            352.    ADA Masters also acknowledged on the record that there were

      irregularities in the police reports documenting the investigation. Id. at 17.



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            353.    ADA Masters noted that many of the most important reports were

      unnumbered, and there were no DD-5s generated during the six months leading

      up to Felipe’s arrest. Id.

            354.     “Any objective review of the investigator files [is] concerning,”

      Masters stated. “The most critical positions of the investigation [] were the most

      sparingly documented.” Id. at 17:12-14.

                                         DAMAGES

            355.    Felipe Rodriguez is permanently injured by the physical and

      psychological torture he endured during the 26 years, 10 months and 19 days

      that he was wrongfully incarcerated for the murder of Maureen Fernandez, a

      woman he never met.

            356.    Felipe suffered adverse health consequences while he was in

      prison as a direct result of the defendants’ wrongful conduct that led to his false

      conviction.

            357.    Felipe suffers from post-traumatic stress disorder and other

      specific psychological disorders as a direct result of his nearly twenty-seven

      years in high security prisons in New York State.

            358.    Felipe was assaulted on multiple occasions while he was in

      prison.




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            359.    One of these assaults took place in 2014, when corrections

      officers at Fishkill Correctional Facility pushed Felipe down a flight of stairs

      while Felipe was shackled and in handcuffs and thus could not break his fall.

            360.    Some of the same corrections officers, known as the “Beat Up

      Squad,” were later implicated in the deaths of other incarcerated people.

            361.    Felipe suffered serious physical injuries to his back, stomach, and

      knee while incarcerated and as a direct result of his incarceration.

            362.    Felipe was traumatized by seeing people killed and maimed in

      prison.

            363.    Every day he woke up in prison, Felipe feared for his life.

            364.    In 2014, Felipe spent 51 days in solitary confinement under the

      pretext of protective custody, causing further mental and emotional injuries.

            365.    Felipe lost 26 years, 10 months and 19 days of wages and benefits

      he would have otherwise earned.

            366.    For almost twenty-seven years, Felipe was deprived of the

      opportunity to raise his son Felipe Rodriguez, Jr., who was only three years old

      when Felipe was convicted in May 1990.

            367.    Felipe suffered the loss of his freedom for almost twenty-seven

      years, loss of his youth, personal injuries, pain and suffering, severe mental

      anguish, emotional distress, loss of income, inadequate medical care,



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      humiliation, indignities and embarrassment, degradation, permanent loss of

      natural psychological development; and restrictions on all forms of personal

      freedom including but not limited to diet, sleep, personal contact, educational

      opportunity, vocational opportunity, athletic opportunity, personal fulfillment,

      sexual activity, family relations, reading, television, movies, travel, enjoyment,

      and freedom of speech and expression.



                                          COUNT I

           New York Common Law Malicious Prosecution — All Defendants

            368.    Plaintiff hereby incorporates by reference all of the foregoing

      paragraphs and further alleges as follows:

            369.    Defendants Beisel, Sullivan, Wendel, Fennel, Califano, Wilde,

      and Zaroogian (the “Individual Defendants”), individually and in concert, acted

      knowingly, willfully, intentionally, and with actual malice to initiate and/or to

      continue criminal proceedings against Plaintiff without probable cause and to

      cause all of his injuries and damages.

            370.    The proceedings terminated in Plaintiff’s favor.

            371.    The Individual Defendants engaged in these acts within the scope

      of their employment.

            372.    Defendants City of New York, MTA and LIRR are also liable for

      Plaintiff’s malicious prosecution under the principle of respondeat superior.

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                                          COUNT II

        42 U.S.C. § 1983 Malicious Prosecution in violation of the Fourth, Fifth,
              and Fourteenth Amendments — All Individual Defendants

            373.    Plaintiff hereby incorporates by reference all of the foregoing

      paragraphs and further alleges as follows:

            374.    The Individual Defendants, individually and in concert,

      knowingly, willfully, intentionally, and with actual malice caused the initiation

      and continuation of Plaintiff’s prosecution and for his liberty to be curtailed or

      taken away, without probable cause.

            375.    The prosecution terminated in Plaintiff’s favor in a manner

      indicating his innocence.

            376.    The Individual Defendants thereby violated or caused the

      violation of Plaintiff’s right not to be deprived of his liberty without probable

      cause, in violation of the Fourth, Fifth, and Fourteenth Amendments to the

      United States Constitution, and caused all of his injuries and damages.

            377.    Defendants are liable to Plaintiff pursuant to 42 U.S.C. § 1983.

            378.    Each of the Defendants named in this Count also is liable for

      unreasonably failing to intervene to prevent such infringement of Plaintiff’s

      constitutional rights.




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                                          COUNT III

      42 U.S.C. § 1983 Denial of Due Process and a Fair Trial under the Fourth,
         Fifth, Sixth, Eighth and Fourteenth Amendments — Fabrication of
                        Evidence — All Individual Defendants

            379.    Plaintiff hereby incorporates by reference all of the foregoing

      paragraphs and further alleges as follows:

            380.    The Individual Defendants, acting individually and in concert,

      knowingly, willfully, intentionally, and/or recklessly created, or caused the

      creation, of false evidence likely to influence a jury’s decision and forwarded

      that information to prosecutors.

            381.    The false evidence they forwarded caused such prosecutors to

      initiate or continue Plaintiff’s criminal prosecution for murder and other crimes,

      caused Plaintiff to be held in custody in lieu of bail or to have his pretrial liberty

      otherwise curtailed, caused the grand jury to indict him for such crimes, and

      ultimately caused a jury at trial to convict him of such crimes, and caused all his

      injuries and damages before, during and after his trial and to the present.

            382.    The Individual Defendants’ conduct violated Plaintiff’s rights

      under the Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments to the

      Constitution, and they are liable to him for all his injuries and damages pursuant

      to 42 U.S.C. § 1983.




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                                          COUNT IV

       42 U.S.C. § 1983 Denial of Due Process and a Fair Trial under the Fifth,
      Sixth, and Fourteenth Amendments — Brady — All Individual Defendants

            383.     Plaintiff repeats and realleges all the foregoing paragraphs and

      further alleges as follows:

            384.     At all relevant times, Plaintiff had a clearly established right,

      pursuant to the Fifth, Sixth, and Fourteenth Amendments to the United States

      Constitution, Brady v. Maryland, 363 U.S. 83 (1963), Giglio v. United States,

      405 U.S. 150 (1972), other binding case law, and Article 240 of the New York

      State Criminal Procedure Law, to timely disclosure by the prosecution to the

      defense of all material information that tended to show Plaintiff’s innocence or

      that impeached the credibility of the prosecution’s witnesses against him

      (“Brady material”).

            385.     This rule created a duty for law enforcement personnel, including

      the Individual Defendants, to promptly disclose such Brady material to the

      District Attorney’s Office so that it could fulfill its disclosure obligation.

            386.     However, acting knowingly, willfully, intentionally, recklessly,

      negligently, or otherwise in violation of law, the Individual Defendants

      wrongfully withheld numerous pieces of Brady material from the District

      Attorney’s Office, thereby causing the Office to fail to disclose such material to

      the defense.


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            387.    The Brady material that was wrongfully withheld from the

      District Attorney includes, but is not limited to, the material described in

      paragraphs 306 through 328.

            388.    The information in question, individually and collectively, was

      material to the outcome of the criminal trial.

            389.    The Individual Defendants’ failure to disclose the Brady material

      was a substantial cause of Plaintiff’s conviction at trial and his resultant

      damages, and they are therefore liable to him pursuant to 42 U.S.C. § 1983.



                                          COUNT V

        42 U.S.C. § 1983 Fourth and Fourteenth Amendment Excessive Pretrial
                          Detention — Individual Defendants

            390.    Plaintiff hereby incorporates by reference all of the foregoing

      paragraphs and further alleges as follows:

            391.    Plaintiff had a right, pursuant to the Fourth and Fourteenth

      Amendments to the Constitution, to be free from pretrial detention owing to law

      enforcement officials’ mishandling or suppression of exculpatory evidence.

            392.    In violation of that right, the Individual Defendants knowingly,

      willfully, intentionally, recklessly, negligently and in violation of this right,

      failed to disclose exculpatory evidence to prosecutors which would have




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      resulted in Plaintiff’s release from detention following his initial Criminal Court

      arraignment and his subsequent indictment.

            393.    The actions of the Individual Defendants were shocking to the

      conscience.

            394.    Therefore, pursuant to 42 U.S.C. § 1983, the Individual

      Defendants are liable for all his resultant damages.



                                          COUNT VI

          42 U.S.C. § 1983 Civil Rights Conspiracy — Individual Defendants

            395.    Plaintiff hereby incorporates by reference all of the foregoing

      paragraphs and further alleges as follows:

            396.    Defendants Beisel, Sullivan, Wendel, Fennel, Califano, Wilde,

      and the John and Jane Doe officers and supervisors, acting within the scope of

      their employment and under color of state law, agreed among themselves and

      with others to act in concert in order to deprive Plaintiff of his clearly

      established Fourth, Fifth, Sixth and Fourteenth Amendment rights to be free

      from unreasonable searches and seizures, malicious prosecution, deprivation of

      liberty without due process of law, and to receive a fair trial.

            397.    In furtherance of the conspiracy each defendant engaged in and

      facilitated numerous overt acts, including, without limitation, the following:



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            i) Defendants Beisel, Fennel, Sullivan, Wendel, Califano, Wilde, and
               Zaroogian (a) fabricated inculpatory evidence, including preparation
               of a statement by Javier Ramos falsely accusing Plaintiff of murder;
               (b) falsified police reports (DD-5s) and other accounts of their
               investigative activities and the interrogations; (c) failed to document
               and disclose material exculpatory evidence to prosecutors; and (d)
               failed to document the investigation at all between September 28,
               1988 and March 27, 1989, the sixth months leading up to Plaintiff’s
               arrest.

            ii) Defendants Beisel, Califano and Wilde drove Javier Ramos to
                Cypress Hill Cemetery and threatened to kill him, thereby overbearing
                Ramos’s will and coercing him into falsely stating that he loaned his
                former car to Plaintiff on the night of the murder.

            iii) Defendant Beisel and John and Jane Doe Offices regularly visited
                 Javier Ramos at his place of employment (Wyckoff Heights Hospital)
                 between September 1988 and March 1989 to intimidate Ramos into
                 accusing Plaintiff of murder.

            iv) Defendants Beisel, Fennel, Sullivan, Wendel, Califano, Wilde,
                Zaroogian and the John and Jane Doe officers and supervisors failed
                to properly investigate alternate suspects, including Carney
                Fernandez, Jose Perez Rivera, and Eddie Ruiz.

            v) Defendants Beisel and Sullivan deliberately provided perjured
               testimony against Plaintiff in the grand jury, at pretrial hearings, and
               at trial, consistent with their out-of-court misrepresentations in
               documents and reports.

            398.   As a direct and proximate result of Defendants’ actions, Plaintiff

      was wrongly convicted and imprisoned for almost twenty-seven years and

      suffered the other grievous and continuing damages and injuries set forth above.




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                                          COUNT VII

               42 U.S.C. § 1983 Violation of the Equal Protection Clause of the
                      Fourteenth Amendment — Defendant John Beisel

               399.   Plaintiff hereby incorporates by reference all the foregoing

      paragraphs and further alleges as follows:

               400.   Defendant Beisel targeted Felipe Rodriguez, Richard Pereira, and

      Javier Ramos because they were of Hispanic origin.

               401.   On March 27, 1987, Defendant Beisel arrested Plaintiff for

      murder because, as Beisel told Plaintiff, “one of you spics is going down for

      this.”

               402.   Defendant Beisel also called Javier Ramos a “spic” and a

      “Hispanic prick.”

               403.   In September 1988, during the investigation, Defendant Beisel

      was recorded stating he did not want a “spic” in his car.

               404.   Defendant Beisel declined to investigate or prosecute or enforce

      the law against non-Hispanic individuals who were similarly situated to

      Plaintiff.

               405.   For example, Defendant Beisel declined to investigate or

      prosecute or enforce the law against a white man named Edward Denning. See

      supra ¶¶ 107-113.




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             406.   Denning matched the composite sketch of the man seen with the

      victim at the Little Liva bar on the night of the murder; was known to frequent

      bars and have a violent temper; and called out sick from his job as a police

      officer in the days leading up to the murder. See supra ¶¶ 107-113.

             407.   Defendant Beisel also failed to investigate or prosecute or enforce

      the law against three white security guards who were working at Wykoff

      Heights Hospital on Thanksgiving eve of 1987, where the victim was present

      before traveling to the Little Liva bar.

             408.   These three individuals, like Denning, were similarly situated to

      Plaintiff.

             409.   Further, Defendant Beisel ignored evidence that the man seen

      leaving the Little Liva bar with the victim shortly before the murder was white,

      not Hispanic. See ¶¶ 68, 75, 317.

             410.   Defendant Beisel selected Plaintiff for arrest and prosecution

      because Plaintiff is Hispanic.

             411.   In doing so, Defendant Beisel treated Plaintiff differently from

      other similarly situated individuals.

             412.   Such differential treatment was based on impermissible

      considerations such as race, ethnicity, intent to inhibit or punish the exercise of

      constitutional rights, or malicious or bad faith intent to injure Plaintiff.



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            413.    Defendant Beisel’s differential treatment of Plaintiff was further

      based on animus toward people of Hispanic origin.

            414.    Defendant Beisel deliberately fabricated inculpatory evidence,

      falsified reports and other accounts of his investigative activities and the

      interrogations of Javier Ramos and Plaintiff, and failed to document and

      disclose materially exculpatory evidence to prosecutors, all for the purpose of

      depriving Plaintiff of the equal protection of the law.

            415.    As a direct and proximate result of Defendant Beisel’s actions,

      Plaintiff was wrongly convicted and imprisoned for almost twenty-seven years

      and suffered the other grievous and continuing damages and injuries set forth

      above.



                                        COUNT VIII

       42 U.S.C. § 1981 Violation of Right to Full and Equal Benefit of the Law -
                                Defendant John Beisel

            416.    Plaintiff hereby incorporates by reference all the foregoing

      paragraphs and further alleges as follows:

            417.    Pursuant to 42 U.S.C. § 1981, Plaintiff is entitled to the full and

      equal benefit of all laws and proceedings for the security of persons and

      property as is enjoyed by white citizens.

            418.    Plaintiff, who is Hispanic, is a member of a racial minority.


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             419.   Defendant Beisel intentionally discriminated against Plaintiff on

      the basis of Plaintiff’s race.

             420.   The purpose of such discrimination was to deprive Plaintiff of the

      full and equal benefit of all laws and proceedings for the security of persons and

      property.

             421.   Defendant Beisel arrested and prosecuted Plaintiff because

      Plaintiff is Hispanic.

             422.   Defendant Beisel further discriminated against Plaintiff by

      deliberately fabricating inculpatory evidence, falsifying reports and other

      accounts of his investigative activities and the interrogations of Javier Ramos

      and Plaintiff, and failing to document and disclose materially exculpatory

      evidence to prosecutors, all for the purpose of depriving Plaintiff of the full and

      equal benefit of laws and proceedings for the security of persons and property

      as is enjoyed by white citizens.

             423.   As a direct and proximate result of Defendant Beisel’s actions,

      Plaintiff was wrongly convicted and imprisoned for almost twenty-seven years

      and suffered the other grievous and continuing damages and injuries set forth

      above.




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                                         COUNT IX

        42 U.S.C § 1983 Monell municipal liability for conduct of police officers
       relating to withholding exculpatory evidence, fabrication of evidence, and
        initiating the prosecution without probable cause — Defendant City of
                                       New York

            424.    Plaintiff hereby incorporates by reference paragraphs 1 through

      367 and further alleges as follows:

            425.    The Police Commissioner and police officers employed by the

      NYPD are agents and employees of Defendant City of New York.

            426.    At all times relevant to the Complaint, LIRR PD detectives

      Sullivan and Wendel were acting in concert with and at the direction of Det.

      Beisel and Det. Beisel’s supervisors.

            427.    Under the principles of municipal liability for federal civil rights

      violations, the City’s Police Commissioner or his authorized delegates, during

      all times relevant to this Complaint, had final responsibility for training,

      instructing, supervising, and disciplining police officers and other employees

      and agents of the NYPD with respect to the investigation and prosecution of

      criminal matters, including but not limited to requirements governing:

            a. the constitutional obligation not to fabricate evidence, including false
               or suggestive lineup identifications, false or misleading police reports,
               and false statements by witnesses, for use against criminal suspects and
               defendants in criminal trials and other proceedings;




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            b. the constitutional obligation not to coerce false statements from
               witnesses for use against criminal suspects and defendants in criminal
               trials and other proceedings;

            c. the constitutional obligation not to give false or misleading testimony;

            d. the constitutional obligation not to initiate or continue a prosecution
               without probable cause;

            e. the constitutional obligation to preserve and make timely disclosure to
               the District Attorney’s Office of all material evidence or information
               (“Brady material”) favorable to a person suspected, accused or
               convicted of criminal conduct, including, but not limited to, evidence
               of innocence as well as evidence affecting the credibility of prosecution
               witnesses, and to refrain from making reports that, because they omitted
               such information, were false or misleading.

            f. the constitutional obligation to intervene when other officers, whether
               employees of the NYPD or another agency, are violating the
               constitutional obligations listed above in subparagraphs a through e.

            428.    During all times material to this Complaint, the City, through its

      policymaking officials in the NYPD, owed a duty to the public at large and to

      Plaintiff to implement policies, procedures, customs, and practices sufficient to

      prevent, deter, and avoid conduct by their subordinates that would result in the

      violation of the aforementioned constitutional rights of criminal suspects or

      defendants and of other members of the public.

            429.    These policymakers knowingly and intentionally breached, or

      were deliberately indifferent to, this duty.

            430.    At the same time as NYPD policymaking officials were

      deliberately indifferent to constitutional violations by their employees and



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      agents, these officials created substantial incentives for their employees and

      agents to commit such constitutional violations, by pressuring police officers to

      “close” cases through arrests, indictments, and convictions.

            431.    The aforesaid deliberate or de facto policies, procedures,

      regulations, practices, and/or customs (including the failure to properly instruct,

      train, supervise, and/or discipline employees) were implemented or tolerated by

      policymaking officials for Defendant City of New York—including but not

      limited to the Police Commissioner—who knew, or should have known:

            a. to a moral certainty that such policies, procedures, regulations,
               practices, and/or customs concern issues that regularly arise in the
               investigation of criminal cases;

            b. that such issues present NYPD employees and agents with difficult
               choices of the sort that instruction, training, supervision, and discipline
               will make less difficult;

            c. that NYPD employees and agents facing such issues have strong
               incentives to make the wrong decisions, particularly given the
               institutional pressure for NYPD employees and agents to make arrests,
               close cases, and secure indictments and convictions;

            d. that the wrong choice by NYPD employees and agents concerning such
               issues will frequently cause the deprivation of the constitutional rights
               of an accused person and cause him constitutional injury; and

            e. that NYPD employees and agents had a history of making wrong
               choices in such matters.

            432.    At the time of Plaintiff’s arrest and prosecution, NYPD

      policymaking officials were on notice of the risk of misconduct by NYPD




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      employees and agents that would violate the constitutional obligations

      identified in ¶ 427, supra.

            433.    Policymaking officials were on notice based in part on numerous

      decisions of the United States Supreme Court and other state and federal courts

      discussing the difficult issues that regularly arise for police officers during

      criminal investigations, including issues relating to lineup identification,

      documenting witness interviews, conducting witness interviews, disclosing

      Brady material, and other phases of criminal investigations.

            434.    Policymaking officials were also on notice based on the inherent

      obviousness of the need to train, supervise, and discipline police officers with

      respect to their constitutional obligations to counteract the pressure on such

      officers to “close” cases and to obtain arrests and convictions.

            435.    Policymaking officials were further on notice based on numerous

      credible allegations that NYPD officers had manufactured false or unreliable

      identification evidence, witness statements, and other evidence, and knowingly

      given false or misleading testimony, in violation of the constitutional

      obligations identified in ¶ 427, supra.

            436.    Policy makers were on further notice based on judicial decisions

      directly criticizing the NYPD for failing to train and supervise officers in their

      Brady obligations and for failing to adopt adequate Brady disclosure policies,



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      and putting the NYPD on notice that the City could be held liable for its failure

      to adequately train police officers and investigators regarding their obligations

      to disclose evidence that favors criminal defendants under Brady, see Carter v.

      Harrison, 612 F.Supp.749 (E.D.N.Y June 21, 1985) (McLaughlin, D.J.,

      adopting the Report and Recommendation of then Magistrate Shira A.

      Scheindlin).

            437.     Many detectives were unaware they had an obligation to make a

      record of or to otherwise inform prosecutors of information that was favorable

      to the criminal suspect or defendant.

            438.     In addition, the New York City Police Commissioner and his

      delegates did not discipline police officers found to have been responsible for

      the violation of criminal suspects’ or defendants’ right to disclosure of

      favorable evidence and not to be prosecuted based upon false or misleading

      evidence.

            439.     Police officers thus understood they would suffer no adverse

      consequence if they withheld Brady material from prosecutors or provided

      prosecutors with fabricated evidence.

            440.     Meanwhile, the NYPD put substantial pressure on detectives and

      agents to close cases by developing probable cause and making arrests.




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             441.    Prosecutors would not be informed of evidence favorable to a

      suspect or defendant that was known to police and thus would be unable to

      comply with their own constitutional obligation to disclose such material to the

      defense in time to be used at bail hearings, in the grand jury, and at trial, and

      would unwittingly rely on evidence fabricated by the police.

             442.    In addition, relying on false or misleading police reports,

      prosecutors elicited perjured testimony from prosecution witnesses, who were

      often coached or forced by police officers to give false testimony.

             443.    Many of the NYPD’s illegal practices were documented in July of

      1994 by the Report of the Commission to Investigate Allegations of Police

      Corruption and the Anti-Corruption Procedures of the Police Department,

      (hereinafter the “Mollen Commission Report”).1

             444.    The Mollen Commission Report was the culmination of a twenty-

      two month investigation, which included interviews with then current and

      former police officers and supervisors, prosecutors, and civilians. The report

      discovered that officers engaged in widespread falsification of evidence in the

      following forms: “[1] testimonial perjury . . . [2] documentary perjury, as when




      1
       City of New York, Commission to Investigate Allegations of Police Corruption and the
      Anti-Corruption Procedures of the Police Department, Commission Report, July 7, 1994,
      available at https://web.archive.org/web/20110721230958/http://www.parc.info/client_files/
      Special%20Reports/4%20-%20Mollen%20Commission%20-%20NYPD.pdf

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      an officer swears falsely under oath in an affidavit or criminal complaint; and

      [3] falsification of police records, as when an officer falsifies the facts and

      circumstances of an arrest in police reports.” Mollen Commission Report at 36.

            445.    The Commission found that, within the NYPD, “the practice of

      police falsification in connection with such arrests is so common in certain

      precincts that it has spawned its own word: ‘testilying.’” Id.

            446.    The Commission noted:

                    Officers [] commit falsification to serve what they
                    perceive to be ‘legitimate’ law enforcement ends -
                    -- and for ends that many honest and corrupt
                    officers alike stubbornly defend as correct. In their
                    view, regardless of the legality of the arrest, the
                    defendant is in fact guilty and ought to be arrested.
                    Officers reported a litany of manufactured tales. . ..
                    Frustrated by what they perceive to be unrealistic
                    rules of law and by their own inability to stem the
                    crime in their precincts through legal means,
                    officers take the law into their own hands. And
                    police falsification is the result.

      Id. at 38.

            447.    According to the Commission, officers

                   falsified documents and may have committed
                   testimony perjury to conceal constitutional
                   violations . . . Even more troubling, the evidence
                   suggests that the unit’s commanding officer not
                   only tolerated, but encouraged, this unlawful
                   practice. . . . Even supposedly well-intended
                   falsification,    moreover,     has     devastating
                   consequences for the criminal justice system and
                   the public. Rather than insuring that the guilty are

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                    convicted, police falsifications often insure the
                    opposite. Unlawful ‘shortcuts’ at times require
                    lying to a grand jury or to a trial jury.

      Id. at 39.

             448.   Because falsification was rampant and unchecked, officers

      “quickly realized how easy it was to cross the line and take the law into their

      own hands with impunity.” Id. And officers were rewarded with career

      advancement. Id. at 37.

             449.   The Commission explained how such lawlessness came to pass:

                    What breeds this tolerance is a deep-rooted
                    perception among many officers of all ranks within
                    the Department that nothing is really wrong with
                    compromising facts to fight crime in the real world.
                    Simply put, despite the devastating consequences of
                    police falsifications, there is a persistent belief
                    among many officers that it is necessary and
                    justified, even if unlawful. As one dedicated officer
                    put it, police officers often view falsification as, to
                    use his words, “doing God’s work” - doing
                    whatever it takes to get a suspected criminal off the
                    streets. This attitude is so entrenched, especially in
                    high-crime precincts, that when investigators
                    confronted one recently arrested officer with
                    evidence of perjury, he asked in disbelief, “What’s
                    wrong with that? They’re guilty.”

      Id. at 41.

             450.   The Commission found:

                    the Department’s top commanders must share the
                    blame . . . For example, supervisors were rarely, if
                    ever, held accountable for the falsifications of their


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                      subordinates. We are not aware of a single instance
                      in which a supervisor or commander has been
                      sanctioned for permitting perjury or falsification on
                      their watch . . . Nor do we know of a single, self-
                      initiated Internal Affairs Division investigation into
                      patterns of police perjury and falsification. The
                      Commission's analysis of Internal Affairs’
                      corruption categories --designed to quantify
                      different kinds of police wrongdoing -- revealed no
                      separate category for perjury or falsification of
                      records. Unlike other corruption categories, Internal
                      Affairs over the last decade had no record of the
                      number of falsification allegations brought against
                      officers throughout the Department or in a
                      particular precinct or command. There is no
                      evidence that anyone in the Department’s chain of
                      command had focused on eliminating this practice,
                      including past Police Commissioners and Internal
                      Affairs chiefs, who apparently turned a blind eye to
                      unlawful practices that were purportedly committed
                      to fight crime and increase arrest statistics.

      Id. at 41-42.

             451.     “The consequences of this can be devastating,” the Commission

      noted, “[i]t can mean that defendants are unlawfully arrested and convicted, that

      inadmissible evidence is admitted at trial.” Id. at 43.

             452.     In addition to widespread evidence falsification, the Commission

      noted that officers frequently used brutality2 in order to manufacture false

      testimony by witnesses. Id. at 44. “Threats and violence are carried out in

      connection with corruption . . . [or] to administer an officer’s own brand of


      2
       The Mollen Commission defined “brutality” as implicit or explicit threat of physical harm
      or the actual infliction of physical injury or pain. Mollen Commission Report at 44, n. 4.

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      vigilante justice[.]” Id. at 45. “In addition, the Department's intelligence and

      official records regarding incidents of brutality have been wholly inadequate in

      the past.” Id.

             453.      A study by the Commission found that officers who engaged in

      other forms of corruption, such as falsification, “were more than five times as

      likely to have five or more unnecessary force allegations filed against them than

      the officers from the random sample group.” Id. at 46. “Once the line was

      crossed without consequences, it was easier to abuse their authority in other

      ways, including corruption.” Id. at 47.

             454.      The commission noted that:

                       officers seem fairly tolerant – both outwardly and
                       inwardly – of occasional police brutality. . . many
                       do not seem to believe that anything is really wrong
                       with a few blows and bruises now and then. Even
                       officers who would never take a free cup of coffee,
                       seem to tolerate what they believe is a little "street
                       justice."

      Id. at 49.

             455.      The Commission found that acts of brutality, like falsification,

      were insulated by what “[s]cores of officers at every rank [called] the code of

      silence [that] pervades the Department and influences the vast majority of

      honest and corrupt officers alike.” Id. at 51.




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            456.      One former officer explained why he did not fear that he would be

      reported or disciplined:

                      Because it was the Blue Wall of Silence. Cops don't
                      tell on cops. And if they did tell on them, just say if
                      a cop decided to tell on me, his career's ruined. He's
                      going to be labeled as a rat. So if he's got fifteen
                      more years to go on the job, he's going to be
                      miserable because it follows you wherever you go.
                      And he could be in a precinct, he's going to have
                      nobody to work with. And chances are if it comes
                      down to it, they're going to let him get hurt.

      Id. at 53-54.

            457.       Officers “reported that the wall of silence is even stronger when it

      comes to brutality. Officers are unwilling to go out on a limb and report

      behavior that they believe, while unlawful, is fundamentally correct.” Id. at 49.

            458.      The Commission observed:

                      This willful tolerance, or blindness, extends to
                      supervisors as well. This is because many
                      supervisors share the perception that nothing is
                      really wrong with a bit of unnecessary force and
                      because they believe that this is the only way to
                      fight crime today . . . Before the Commission’s
                      public hearings, few officers had ever been
                      dismissed or even suspended on grounds of
                      brutality in the recent past. Nor were supervisors or
                      commanding officers typically sanctioned for
                      brutality in their commands . . . In past years, the
                      Department has refused to recognize brutality as a
                      serious occupational hazard and failed to recognize
                      its link to corruption. Integrity training inadequately
                      addressed issues of brutality or brutality tolerance;
                      intelligence-gathering efforts in the brutality area


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                      were negligible; discipline was lax; command
                      accountability was rarely enforced in this area; and
                      information on corruption and brutality was rarely
                      analyzed together.

      Id. at 49-50.

             459.     Supervisors condoned falsification and brutality; indeed, they

      were part of the “wall of silence” shrouding such corruption:

                      Our and investigation revealed a widespread
                      breakdown in supervision which fueled and
                      protected the corruption we observed. In fact, in
                      every precinct where we found corruption, we found
                      ineffective or sparse supervision -- a willingness by
                      certain supervisors to turn a blind eye to corruption
                      which they knew or strongly suspected existed. In
                      fact, many supervisors did not believe that uprooting
                      corruption was part of their responsibilities.

      Id. at 80.

             460.     Finally, the Commission concluded:

                      We found a police culture that often tolerates and
                      protects corruption. We also found that the
                      Department         completely       abandoned        its
                      responsibility to transform that culture into one that
                      drives out corruption. It made little effort to change
                      the attitudes that foster corruption among the rank
                      and file, supervisors or commanders; and it made
                      little effort to convince anyone that its occasional
                      pronouncements on integrity were more than
                      obligatory rhetoric. . . The Department also has
                      done little to attempt to penetrate the wall of silence,
                      although it is one of the major barriers to identifying
                      and uncovering corruption.

      Id. at 107.


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            461.     The NYPD used brutality— “implicit or explicit threats of

      physical harm or the actual infliction of physical injury or pain”—to coerce

      suspects to either confess or falsely accuse another individual of a crime.

            462.     A few high-profile examples of the NYPD using brutality to

      coerce statements include:

            a.      In or around 1985, NYPD detectives struck David
                    McCallum during an interrogation and threatened to strike
                    him with a chair, inducing him to confess to a carjacking and
                    murder that he did not commit. When he was exonerated in
                    2014, the office of the Kings County District Attorney stated
                    publicly that his confession and that of a codefendant were
                    “the product of improper suggestion, improper inducement
                    and, perhaps, coercion.”

                 b. Raymond Santana Jr. was one of five Hispanic and African
                    American boys arrested and charged with the rape and
                    horrific assault of the “Central Park Jogger” on April 19,
                    1989. After keeping him up all night, NYPD detectives
                    threated Raymond that he could be given 20 years in prison if
                    he was found to be lying, yelled at him, physically threatened
                    him by rushing at him, accused him of the rape, fed him
                    details of the rape to bolster the supposed confession, falsely
                    told him that another suspect had accused him of the rape, and
                    falsely told him they did not want to prosecute him for
                    something he did not do. Raymond was exonerated on
                    December 19, 2002, after another, unrelated individual whose
                    DNA matched DNA from the victim came forward to confess
                    to the rape and stated that he committed the rape alone.

                 c. In 1992, NYPD detectives coerced Antonio Yarborough and
                    Sharrif Wilson into falsely accusing each other of murder,
                    by means of lying to Antonio and Sharrif, feeding them non-
                    public facts about the murder, hitting them, threatening them,
                    and depriving them of sleep, all while supervisors looked on.



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                   Both men were convicted and served decades in prison before
                   being exonerated by DNA evidence.

            463.    Similarly, NYPD routinely elicited written statements from

      witnesses by threatening to incarcerate them.

            464.    For example:

                a. Derek Hamilton was convicted of murder in 1983 and served
                   more than two decades before Brooklyn prosecutors
                   voluntarily vacated his conviction. A key witness, Jewel
                   Smith, said in a sworn affidavit that she identified Hamilton
                   only after an NYPD detective threatened to jail her and cause
                   her children to be taken away if she did not accuse Hamilton.

                b. In 1987, Valence Cole was convicted of murder based on the
                   testimony of witness Jeffrey Campbell. In 1994, Campbell
                   said in a sworn statement that an NYPD detective had given
                   him a script on which to base his testimony. Campbell
                   admitted that he gave false testimony because the detective
                   promised to drop charges in exchange.

                c. Jeffrey Blake and Ruben Ortega were convicted of a 1990
                   murder and received life sentences based on the testimony of
                   witness Dana Garner. Both convictions were vacated. During
                   civil litigation, Garner testified that an NYPD detective fed
                   him details to be included in Garner’s allegations and
                   threatened to charge Garner with crimes if he didn’t implicate
                   Blake and Ortega.

            465.    Based on the above, NYPD policymaking officials knew or

      should have known, at the time of Plaintiff’s prosecution, that NYPD

      employees and agents were manufacturing false evidence by fabricating police

      reports and using force or threats of force and prosecution to coerce false

      witness statements, as well as failing to disclose Brady material, all for the


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      purpose of creating false grounds for establishing probable cause to arrest and

      prosecute suspects and to influence juries to return convictions.

            466.    With deliberate indifference to such misconduct, NYPD

      policymaking officials failed to take adequate steps to train, supervise, or

      discipline NYPD employees to prevent or deter such constitutional violations

      from occurring.

            467.    As a result of the City’s deliberate or de facto policies,

      procedures, regulations, practices, customs, and/or inadequate training,

      detectives, acting deliberately, intentionally, willfully, recklessly and/or out of

      ignorance of their constitutional obligations, withheld from prosecutors in

      Plaintiff’s case a litany of exculpatory and impeachment evidence, including,

      without limitation, the evidence described in paragraphs 306 through 328.

            468.    As a further result of the City’s deliberate or de facto policies,

      procedures, regulations, practices, customs, and/or inadequate training,

      detectives knowingly and intentionally fabricated evidence that they forwarded

      to prosecutors for use in Plaintiff’s prosecution.

            469.    NYPD policymaker’s deliberate indifference to such misconduct

      directly, foreseeably, proximately, and substantially caused the violations of

      Plaintiff’s federal constitutional rights in this case and his resulting injuries.




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                                         COUNT X

      42 U.S.C § 1983 Monell municipal liability for conduct of LIRR PD officers
       relating to withholding exculpatory evidence, fabrication of evidence, and
            initiating the prosecution without probable cause — Defendants
          Metropolitan Transportation Authority and Long Island Rail Road
                                        Company

            470.    Plaintiff hereby incorporates by reference paragraphs 1 through

      367 and further alleges as follows:

            471.    During the investigation and prosecution of Plaintiff, detectives

      Wendel and Sullivan of the Long Island Rail Road Police Department were

      employees of Defendant Long Island Railroad Company, a subsidiary of

      Defendant Metropolitan Transportation Authority.

            472.    Under the principles of municipal liability for federal civil rights

      violations, the LIRR Chief of Police or his authorized delegates, during all

      times relevant to this Complaint, had final responsibility for training,

      instructing, supervising, and disciplining police officers and other employees

      and agents of the LIRR PD with respect to the investigation and prosecution of

      criminal matters, including but not limited to requirements governing:

            a. the constitutional obligation not to fabricate evidence, false or
               misleading police reports, or false statements by witnesses, for use
               against criminal suspects and defendants in criminal trials and other
               proceedings;

            b. the constitutional obligation not to coerce false statements from
               witnesses for use against criminal suspects and defendants in criminal
               trials and other proceedings;


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            c. the constitutional obligation not to initiate or continue a prosecution
               without probable cause;

            d. the constitutional obligation not to give false or misleading testimony;

            e. the constitutional obligation to preserve and make timely disclosure to
               the District Attorney’s Office, during criminal investigations and
               prosecutions, of all material evidence or information (“Brady
               material”) favorable to a person suspected, accused or convicted of
               criminal conduct, including, but not limited to, evidence of innocence
               as well as evidence affecting the credibility of prosecution witnesses;

            f. the constitutional obligation to intervene when other officers, whether
               employed by the LIRR PD or another agency, violate the constitutional
               obligations listed above in subparagraphs a through e.

            473.    During all times material to this complaint, the MTA and LIRR,

      through its policymaking officials in the LIRR PD, owed a duty to the public at

      large and to Plaintiff to implement policies, procedures, customs, and practices

      sufficient to prevent, deter, and avoid conduct by their subordinates that would

      result in the violation of the aforementioned constitutional rights of criminal

      suspects or defendants and of other members of the public.

            474.    These policymakers knowingly and intentionally breached, or

      were deliberately indifferent to, this duty.

            475.    At the same time as LIRR PD policymaking officials were

      deliberately indifferent to constitutional violations by their employees, these

      officials created substantial incentives for their employees to commit such

      constitutional violations, by pressuring police officers to “close” cases through

      arrests, indictments, and convictions.

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            476.    The aforesaid deliberate or de facto policies, procedures,

      regulations, practices, and customs (including the failure to properly instruct,

      train, supervise, and discipline employees) were implemented or tolerated by

      policymaking officials for Defendants MTA and LIRR—including but not

      limited to the LIRR PD Chief of Police—who knew, or should have known:

            a. to a moral certainty that such policies, procedures, regulations,
               practices, and/or customs concern issues that regularly arise in the
               investigation of criminal cases;

            b. that such issues present LIRR PD employees and agents with difficult
               choices of the sort that instruction, training, supervision, and discipline
               will make less difficult;

            c. that LIRR PD employees and agents facing such issues have strong
               incentives to make the wrong decisions, particularly given the
               institutional pressure for LIRR PD employees and agents to make
               arrests, close cases, and secure indictments and convictions;

            d. that the wrong choice by LIRR PD employees and agents concerning
               such issues will frequently cause the deprivation of the constitutional
               rights of an accused person and cause him constitutional injury; and

            e. that LIRR PD employees had a history of making wrong choices in such
               matters.

            477.    As a result of inadequate training, many detectives were unaware

      they had an obligation to make a record of or to otherwise inform prosecutors of

      information that was favorable to the criminal suspect or defendant.

            478.    At the time of Felipe’s arrest and prosecution, LIRR PD

      policymaking officials were on notice of the risk of misconduct by LIRR PD




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      employees that would violate the constitutional obligations identified in ¶ 472,

      supra.

               479.   Policymaking officials were on notice based in part on numerous

      decisions of the United States Supreme Court and other state and federal courts

      discussing the difficult issues that regularly arise for police officers during

      criminal investigations, including issues relating to lineup identification,

      documenting witness interviews, conducting witness interviews, and other

      phases of criminal investigations.

               480.   Policymaking officials were also on notice based on the inherent

      obviousness of the need to train, supervise, and discipline police officers with

      respect to their constitutional obligations to counteract the pressure on such

      officers to “close” cases and to obtain arrests and convictions.

               481.   Policymaking officials were also on notice because the LIRR PD

      routinely conducted joint investigations with the NYPD; the NYPD was known

      to implement unconstitutional policies relating to criminal investigations, see ¶¶

      425-469, supra; and LIRR PD employees participating in joint investigations

      with the NYPD were carrying out and implementing those very same

      unconstitutional policies.

               482.   With deliberate indifference to such misconduct, LIRR PD

      policymaking officials failed to take adequate steps to train, supervise, or



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      discipline LIRR PD employees and agents to prevent or deter such

      constitutional violations from occurring.

             483.   As a result of the MTA’s deliberate or de facto policies,

      procedures, regulations, practices, customs, and/or inadequate training,

      detectives, acting deliberately, intentionally, willfully, recklessly and/or out of

      ignorance of their constitutional obligations, withheld from prosecutors in

      Plaintiff’s case a litany of exculpatory and impeachment evidence, including,

      without limitation, the evidence described in paragraphs 306 through 328.

             484.   As a further result of the MTA’s deliberate or de facto policies,

      procedures, regulations, practices, customs, and/or inadequate training,

      detectives knowingly and intentionally fabricated evidence that they forwarded

      to prosecutors for use in Plaintiff’s prosecution.

             485.   The deliberate indifference of LIRR PD policymaking officials to

      such misconduct directly, foreseeably, proximately, and substantially caused the

      violations of Felipe’s federal constitutional rights in this case and his resulting

      injuries.




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                                           COUNT XI

           42 U.S.C. § 1983 Monell Municipal liability for the Queens District
            Attorney’s Office’s Policy of Deliberate Indifference to Fair Trial
                       Violations — Defendant City of New York

             486.   Plaintiff hereby incorporates by reference paragraphs 1 through

      367 and further alleges as follows:

             487.   At all times relevant to this Complaint, Plaintiff had a federal

      constitutional right, pursuant to the Due Process and Fair Trial Clauses of the

      Fifth, Sixth, and Fourteenth Amendments, to disclosure by the District

      Attorney’s Office of all exculpatory and impeachment evidence and

      information which, considered in its totality, was likely to influence whether he

      would be convicted at trial and/or which was material to sentencing.

             488.   Under this requirement, known as the Brady rule, the assigned

      prosecutor of Plaintiff had an absolute responsibility to obtain and to disclose to

      the defense all such information and evidence in the possession, custody,

      control or knowledge of the NYPD and of the District Attorney’s Office and to

      disclose it to Plaintiff’s attorney sufficiently in advance of trial so that she could

      adequately investigate it and utilize it at trial in her client’s defense.

             489.   In addition, Plaintiff had a right, under the same constitutional

      provisions, not to be convicted based upon a prosecutor’s knowing use of false

      or misleading evidence or argument, or failure to correct the same.



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            490.    In this case, in violation of such rights, and despite Plaintiff’s

      counsel’s repeated specific requests for disclosure, the prosecution suppressed

      exculpatory and impeachment evidence, including, without limitation, the

      evidence described in paragraphs 306 through 328, which was actually known

      to the prosecution or which, through deliberate indifference to Plaintiff’s

      constitutional rights, it failed to learn about through reasonable inquiry of police

      detectives assigned to this case, and presented testimony that, in light of the

      unrevealed evidence, was false or misleading.

            491.    The prosecution also suppressed the Nagra tape recording, which

      would have critically impeached the testimony of the prosecution’s star witness,

      Javier Ramos. See ¶¶ 165-174, 275, supra.

            492.    These violations of Plaintiff’s constitutional rights, and his

      resultant injuries, were directly, foreseeably, proximately, and substantially

      caused by conduct, chargeable to Defendant the City of New York, amounting

      to deliberate indifference to the constitutional rights of persons, including

      Plaintiff, subject to prosecution by the Queens County District Attorney’s

      Office, namely:

         a. the institution and implementation by the District Attorney of
            plainly inadequate or unlawful policies, procedures, regulations,
            practices, and/or customs concerning the continuing obligation to
            timely and fully disclose material, in the possession, custody or
            control of the District Attorney’s Office or of the police, that is
            favorable to the defense within the meaning of Brady v. Maryland,

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            373 U.S. 83 (1963); Giglio v. United States, 450 U.S. 150 (172), and
            their progeny; and

         b. the District Attorney’s deliberate indifference to the need, and his
            failure, to adequately instruct, train, supervise, and/or discipline his
            employees with respect to such matters.

            493.       The aforesaid deliberate or de facto policies, procedures,

      regulations, practices and/or customs, including the failure to properly instruct,

      train, supervise, and/or discipline employees with regard thereto, were

      implemented or tolerated by policymaking officials for Defendant City of New

      York, including, but not limited to, the District Attorney of Queens County and

      his delegates.

            494.       At all relevant times, the District Attorney of Queens County and

      his delegates knew to a moral certainty that prosecutors would acquire material

      exculpatory evidence and information, including evidence impeaching

      witnesses, or were responsible to make reasonable inquiry of law enforcement

      officials to acquire such evidence and information.

            495.       At all relevant times, the District Attorney of Queens County and

      his delegates knew to a moral certainty that failing to adequately train,

      supervise and discipline prosecutors to acquire and to disclose material

      exculpatory evidence, including impeachment evidence, would result in

      prosecutors failing to disclose material exculpatory evidence and would thus

      cause the violation of citizens’ constitutional rights.


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            496.    The aforementioned policymaking officials had the knowledge

      and the notice alleged in the preceding paragraphs based upon:

         a. numerous credible allegations, many substantiated by judicial
            decisions, some of which are listed in paragraph 515, infra, that Queens
            County ADAs had failed to disclose, or failed to disclose on a timely
            basis, information favorable to the defense that was required to be
            disclosed by the Constitutions and the law of the United States and of
            the State of New York;

         b. the inherent obviousness of the need to train, supervise and discipline
            ADAs on their aforementioned constitutional obligations to counteract
            pressure that the Queens County District Attorney applied to
            prosecutors to obtain convictions;

         c. numerous federal and state judicial opinions emphasizing the critical
            importance of Brady compliance by state prosecutors.

            497.    At the time of Plaintiff’s trial, the Queens County District

      Attorney’s indifference to his office’s noncompliance with Brady was

      evidenced by his failure to conduct internal disciplinary investigations, or to

      discipline, the prosecutors known to engage in such noncompliance, including

      but not limited to the prosecutors responsible for the misconduct found in the

      judicial decisions listed in paragraph 515, infra, or to refer such individuals for

      possible discipline by the Appellate Division’s Disciplinary or Grievance

      Committees.

            498.    Instead of disciplining such prosecutors, the District Attorney’s

      policy, custom or practice was to give them raises, promotions, positive

      evaluations, and commendations, based in part on their record of winning at


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      trial and their productivity in trying a high volume of cases and extracting guilty

      pleas even in weak cases.

             499.      Although supervisors were supposed to monitor members of their

      bureau closely enough to prevent constitutional violations, executives in the

      Office would not follow up with supervisors to find out why Brady violations or

      other misconduct found by a court had occurred.

             500.      Prosecutors were incentivized to violate the constitutional rights

      of criminal defendants, since they knew they were likely to be rewarded for

      winning but would suffer no negative consequence in the unlikely event their

      misconduct was exposed.

             501.      Further encouraging prosecutors to win at any cost was their

      knowledge that the Office had no employee handbook or other published

      procedure for disciplining prosecutors who violated rules of behavior for

      criminal prosecutions.

             502.      Policymakers at the Office failed to discipline misconduct

      affecting defendants’ rights, no matter how egregious, despite being aware that

      failing to take such measures would encourage and result in similar misconduct

      in the future.

             503.      The Office had no written or other officewide policy concerning

      what material to disclose under Brady or when to disclose it.



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            504.    It had no Brady manual or handbook setting forth any policy or

      guidance in this complicated area for prosecutors to consult.

            505.    The office had no policy requiring the inclusion of exculpatory

      information in “prosecution memos,” which influenced the DA’s decision to

      approve the presentment of a case to a grand jury.

            506.    Indeed, the Office not only was indifferent to Brady disclosure

      and to violations of this requirement, including the knowing use and failure to

      correct false testimony, but it adopted procedures for affirmatively discouraging

      disclosure.

            507.    Under District Attorney Santucci, the Office trained line

      prosecutors in what the Office referred to as a “Chinese Wall” policy, under

      which trial prosecutors were deliberately shielded from knowledge of

      sentencing and other consideration given to prosecution witnesses by others in

      the Office.

            508.    Indeed, Santucci’s Chief of Trials, Daniel McCarthy, in a

      notorious murder prosecution in 1989, People v. Steadman, deliberately made a

      deal with the prosecution’s main cooperating witness for extraordinary leniency

      that he kept from the line prosecutors, who in turn, pursuant to the Office’s

      “Chinese Wall” policy, failed to inquire. The result was the witness gave false

      testimony denying any deal, which the prosecutors failed to correct.



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            509.   The trial judge expressed its “disgust” with the District Attorney’s

      “shabbily constructed cooperation charade,” orchestrated by the Office’s top

      executive overseeing trial practice, and ultimately the New York Court of

      Appeals reversed the conviction.

            510.   Prosecutors’ knowledge that the chief of trials, no doubt with the

      knowledge and approval or at least acquiescence of the District Attorney, was

      deliberately scheming to violate Brady, encouraged other, lower-level

      prosecutors to do so as well.

            511.   Thus, in the prosecution of Shih Wei Su for an attempted murder

      that occurred in January 1991, the trial prosecutor, ADA Linda Rosero, was

      shielded from knowledge of a deal another prosecutor had made with her star

      witness, a youth gang member, for no jail time for a robbery by extortion, and

      then failed to correct the witness’s false testimony denying any such deal.

            512.   Su spent 12 years in prison as a result, before his conviction was

      overturned by a federal court of appeals and then his indictment was dismissed.

            513.   During Su’s civil rights lawsuit claiming indifference by the

      Queens D.A. to Brady violations, former ADA Rosero testified she had been

      trained under D.A. Santucci in the aforementioned “Chinese Wall” policy,

      admitted myriad additional Brady violations she had committed in the same




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      case, complained she had received no supervision, and essentially testified that

      all her Office cared about was winning.

            514.    Significantly, the trial in Plaintiff’s case occurred the year after

      the Steadman trial.

            515.    Policymakers were further on notice of the need to adequately

      train, supervise, and discipline prosecutors who were committing Brady

      violations, including violations similar to those committed in Plaintiff’s trial,

      based upon numerous reported judicial decisions in the years leading up to

      Plaintiff’s trial, including but not limited to the following:

            1. People v. Manzione, 109 A.D.2d 755 (2d Dept. 1985) (reversing a 1984 robbery
               conviction where the prosecutor failed to disclose the initial description of the
               perpetrators given by the complainant).

            2. People v. Robinson, 133 A.D.2d 859 (2d Dept. 1987) (reversing 1982 convictions
               for murder and robbery where the prosecutor withheld a witness statement
               directly implicating persons other than the two defendants as the perpetrators and
               the materially inconsistent statement of a key prosecution witness).

            3. People v. Nelu, 157 A.D.2d 864 (2d Dept. 1990) (reversing a 1988 burglary
               conviction where the prosecutor failed to disclose several prior statements of the
               People's witnesses).

            4. People v. Munoz, 161 A.D.2d 807 (2d Dept. 1990) (reversing a 1985 criminal
               trespass conviction where the prosecutor failed to disclose prior statements of the
               People's “main witness”).

            5. People v. Rivera, 170 A.D.2d 544 (2d Dept. 1991) (reversing a 1987 rape
               conviction because the prosecutor failed to disclose police reports that were "in
               direct conflict" with the complainant's rape allegation).

            6. People v. Gaskins, 171 A.D.2d 272 (2d Dept. 1991) (reversing a 1988 sodomy
               conviction where the prosecutor failed to disclose the videotape of an interview of
               the alleged child victim).




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            7. People v. Delace, 174 A.D.2d 688 (2d Dept. 1991) (reversing a 1988 robbery
               conviction where the prosecutor failed to disclose witness statements).

            8. People y. Baba-Ali, 179 A.D.2d 725 (2d Dept. 1992) (reversing a 1989 rape
               conviction involving a four-year-old child where, despite a court order, the
               prosecutor failed until the eve of trial to disclose medical records finding no signs
               of sexual abuse).

            9. People v. Clausell, 182 A.D.2d 132 (2d Dept. 1992) (reversing a 1990 narcotics
               conviction where the prosecutor repeatedly denied the existence of a "buy report,"
               which turned out to include a description of the buyer wholly at odds with the
               description the arresting officer had said he received and matched to the
               defendant).

            10. People v. Banch, 80 N.Y.2d 610 (1992) (reversing 1988 manslaughter conviction
                where the prosecutor "mistakenly" gave the defense the wrong police memo book,
                withheld prior affidavits of a People's witness, and falsely represented that a
                report by another People's witness contained no information required to be
                disclosed).

            11. People v. Davis, 196 A.D.2d 597 (2d Dept. 1993) (reversing a 1989 rape and
                robbery conviction where the prosecutor had refused to disclose the basis for the
                People's expert's conclusion that defendant's DNA matched that found on the
                victim).

            12. People v. Gaines, 199 A.D.2d 335 (2d Dept. 1993) (reversing a 1990
                manslaughter conviction where the District Attorney's Office employed the same
                scheme condemned in Steadman, i.e., withholding a cooperation agreement made
                between the trial assistants' superior and the principal prosecution witness's
                attorney).

            13. People y. Baxley, 84 N.Y.2d 208 (1994) (remitting a CPL 440 motion challenging
                a 1988 murder conviction for a hearing to determine the truth and materiality of a
                witness's affidavit that prior to trial he informed the prosecutor that he and a
                People's witness had been induced by police to fabricate a jail-house confession,
                which the Court of Appeals deemed "crucial" to the People's case); Mr. Baxley
                was killed in prison before the hearing could be held, according to his counsel,
                Harold Ferguson.

            516.    In addition, in the years immediately following Plaintiff’s trial,

      policymakers learned of numerous additional judicial decisions finding that

      Brady violations were committed by prosecutors at the Queens DA’s office,

      including but not limited to the following:


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              1. People v. Moustakis, 226 A.D.2d 401 (2d Dept. 1996) (reversing conviction
                 where the prosecutor presented a cooperating witness who "forgot" the details
                 of his past crimes, but withheld 16 pages of interview notes detailing these
                 crimes for the District Attorney's Office).

              2. People v. May, 228 A.D.2d 523 (2d Dept. 1996) (reversing a murder conviction
                 where the prosecutor failed to disclose a cooperation agreement with its star
                 witness, and failed to correct his false testimony that no such agreement
                 existed).

              3. People v. Croons, 231 A.D.2d 585 (2d Dept. 1996) (reversing robbery
                 conviction where the prosecution wrongfully withheld prior statements of a key
                 witness, the complainant).

              4. People v. Huynh, 232 A.D.2d 655 (2d Dept. 1996) (reversing robbery
                 conviction where the defense was misidentification, and the prosecutor failed to
                 preserve a 911 tape containing the eomp1ainant's initial description of the
                 robber).

              5. People v. Ying, 236 A.D.2d 630 (2d Dept. 1997) (reversing robbery conviction
                 on other grounds, while condemning the prosecutor's withholding of the term of
                 a cooperation agreement with a People's witness).

              6. People v. Gallman, 240 A.D.2d 512 (2d Dept. 1997) (granting CPL 440 motion
                 where the prosecutor wrongfully withheld a police interview of the people’s
                 main witness).

              7. People v. Burch, 247 A.D.2d 546 (2d Dept. 1998) (reversing robbery conviction
                 where the defense was misidentification, and the prosecutor failed to preserve a
                 911 tape containing the initial description of the robber).

              8. People v. Mackey, 249 A.D.2d 329 (2d Dept. 1998) (reversing robbery
                 conviction where the prosecutor "deliberately" set a trap for the defense at trial
                 by withholding critical information required to be disclosed earlier).

            517.    Notwithstanding the notice that policymakers had of the numerous

      judicial decisions, before and after Plaintiff’s trial, finding Brady violations and

      related misconduct, policymakers, deliberately indifferent to the effect such

      violations had on the fundamental constitutional right of criminal defendants to




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      a fair trial, utterly failed to respond with policies, training, supervision and

      discipline necessary to prevent such constitutional violations from recurring.

            518.    The aforementioned policies, procedures, regulations, practices

      and/or customs of Defendant City of New York were collectively and

      individually a substantial factor in bringing about the violations of Plaintiff’s

      rights under the Constitution and laws of the United States and in causing his

      damages.

            519.    But for the ADA’s misconduct caused by the District Attorney’s

      unlawful or deliberately indifferent policies, customs and practices, Plaintiff

      would have been acquitted and released from custody, and would not have been

      incarcerated any further in connection with his murder case.

            520.    Under the principles of municipal liability for federal civil rights

      violations, the District Attorney of Queens County (or his authorized delegates)

      has final managerial responsibility for training, instructing, supervising and

      disciplining attorneys and other employees in his office regarding their conduct

      in the prosecution of criminal matters, including, but not limited to, their

      obligations not to coerce witnesses or manufacture false or unreliable

      “evidence,” to make timely disclosure of exculpatory or impeachment evidence

      to the defense, and to refrain from offering, and to correct, false or misleading

      evidence, testimony, and argument during pretrial and trial proceedings.



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            521.    The Queens County District Attorney, personally and/or through

      his authorized delegates, at all relevant times had final authority to promulgate

      and implement administrative and managerial policies and procedures,

      including policies and procedures as to personnel hiring, training, supervision

      and discipline, with respect to his Office’s performance of its duties.

            522.    The District Attorney of Queens County, at all relevant times, was

      and is an elected officer of Queens County, one of the constituent counties of

      Defendant City; the Office was and is funded out of the City’s budget; and the

      Office was and is a New York City agency.

            523.    The District Attorney was and is designated a “local officer,”

      rather than a “state officer,” under the New York Public Officers Law (§ 2);

      New York has provided by statute (N.Y. County Law §§ 53, 941) that

      Defendant City’s constituent counties (including Queens County), and hence

      Defendant City itself, has liability for torts committed by County officers and

      employees, such as the District Attorney and his assistants, and the City of New

      York represents such officers and employees in judicial proceedings and

      indemnifies them because they are City officials.

            524.    The District Attorney of Queens County personally and/or

      through his authorized delegates, at all relevant times had final authority, and




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      constituted a City policymaker for whom the City is liable, with respect to the

      above-mentioned areas.

            525.    During all times material to this Complaint, the City, through its

      policymakers, owed a duty to the public at large and to Plaintiff, which such

      policymakers knowingly and intentionally breached, or to which they were

      deliberately indifferent, to implement policies, procedures, customs and

      practices sufficient to prevent, deter, and avoid conduct by their subordinates

      violating the aforementioned constitutional rights of criminal suspects or

      defendants and of other members of the public.

            526.    By virtue of the foregoing, the Defendant City of New York is

      liable to Plaintiff, pursuant to 42 U.S.C. §§ 1983 and 1988, for all his injuries

      and damages and for his attorneys’ fees, costs and expenses in bringing this

      action.

            WHEREFORE, FELIPE RODRIGUEZ, demands judgment in a sum to

      be determined at trial and is further entitled to punitive damages against the

      individual defendants in an amount to be determined at trial, plus reasonable

      attorneys’ fees, costs, and disbursements of this action.




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      Dated:      New York, New York
                  July 26, 2021


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